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MURS MTCTELIOL im CoM Ce Claas el) morte F LE “ | .

Debtor 4 Chaim Levilev AUG 14 2024
“ First Name Middle Name Last Name_
Debtor2 CLERK U.S. BANKRUPTCY,
(Spouse, if filing) “First Name Middle Name Last Name ORLAN DO DIVI SION
: United States Bankruptcy Court for the: Middle District of Florida : -
Case number 6:24-bk-03843-LVV . C2 Check if this is an
(if known) : _ amended filing

Official Form 106Sum

Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

"Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

‘ Summarize Your Assets

| 1. Schedule A/B: P Offici 106 es Lee
1. Schedule roperty (Official Form 106A/B) «342,500.00

1a. Copy line 55, Total real estate, from Schedule ALB orevservevoneeren denecauceseuessneneatencesecaueseceeneecescensnesesucesescaesuseesesseneneatensanss
1b. Copy line 62, Total personal property, from Schedule A/B.......-...csveeee eecseceeeesssnnnoneaeseeeeeeeseeseeteaneed svete 3 _1,159,800.00 .
40. Copy line 63, Total of all property on Schedule A/B ..........ccccccsecee sereeereeeees feeeeenre deseaaeeseeaneetaceaeesenesesearenteeesesaeeeee 3 1 ,502,300.00
ee Summarize Your Liabilities
“Your liabilities

Amount you owe *

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 1 06D _—
y Property pe) $44,227.00

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D............
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F) 30.000.00
3a. Copy the total claims from Part 1 (priority unsecured claims) from fine Ge of SCHECUIC E/F.......ciccsccccssscsesseessstesseessseesses =
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F ............sssssseeeneeceeen +s 346,235.23
~ Your total liabilities | $__ 420,462.23
: Eek Summarize Your Income and Expenses
'4. Schedule I: Your Income (Official Form 1061) 3500.00
Copy your combined monthly income from line 12 Of SchEdUIC I a... es ccecccesesecseseecsssecensesesscaeseetsseaeenensenseseatseetssaeetseneesenses $§__<.*\"-—
5. Schedule J: Your Expenses (Official Form 106)
10,120.00

Copy your monthly expenses from line 22¢ Of SCHECUIE J .....-escsssessessssessessnteeneeeenesnttsnescaeseneennecsneesaeesaecenesneseaetennrestnssaneens $

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 1 of 2

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t.
Debtor: Chaim Levilev Case number (rinown ©:24-Dk-03843-LVV
First Name Middle Name Last Name
Ea Answer These Questions for Administrative and Statistical Records
6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
UL) No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
4 Yes
7. What kind of debt do you have?
(J Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.
Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules.
8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. $ 3,285.66
9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F.
_. Total claim.”
2 From Part'4.on Schedule E/F, copy the following:
9a. Domestic support obligations (Copy line 6a.) § 0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 30,000.00
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0.00
Qd, Student loans. (Copy line 6f.) $ 0.00
9e. Obligations arising out of a separation agreement or divorce that you did not report as $ 0.00
priority claims. (Copy line 6g.)
9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$ 0.00
9g. Total. Add lines 9a through 9f. $ 30,000.00

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2
os, ee i eee

Case 6:24-bk-03843-LVV Doc 13

MULTUM CCl olaue lero] am com o(:al Chm zollLa@rer-tcX-e-Lile MUM LELS B

nebo? _CHAIM LEVILEV
First Name Middle Name Last Name

Debtor 2

(Spouse, iffiling) First Name Middle Name Last Name

United States Bankruptcy Court for the: Middle District of Florida

Filed 08/14/24

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Case number

6:24-bk-03843-LVV

Official Form 106A/B

Schedule A/B: Property

UL Check if this is an

amended filing

12/15

In each category, separately list and describe items. List an asset only once. Ifan asset fits in more than one category, list the asset in the

category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

, i Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

LI No. Go to Part 2.
Yes. Where is the property?

41, 200 W PROSPECT RD

Street address, if available, or other description

OAKLAND PARK FL 33309
City State ZIP Code
BROWARD
County

lf you own or have more than one, list here:

42, 400 SCOTT DRIVE

Street address, if available, or other description

ORMOND BEACH FL 32174
City State ZIP Code
VOLUSIA

County

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

What is the property? Check ail that apply.
) Single-family home

(2 Duplex or muiti-unit building

{J Condominium or cooperative

Do. not deduct secured claims or exemptions. Put
the:amount of any secured claims on Schedule D:
: Creditors Who Have Claims Secured. by Property.

Current value of the Current value of the

(J Manufactured or mobile home entire property? portion you own?
QJ Land $ 685,000 ¢ 342,500
LJ Investment property :

(J Timeshare Describe the nature of your ownership

@ other WAREHOUSE

Who has an interest in the property? Check one.

interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

50% BENEFICIAL INTEREST

CQ Debtor 4 only

CY Debtor 2 only

(Q Debtor 1 and Debtor 2 only

Wf At least one of the debtors and another

Other information you wish to add about this item, such as local
property identification number: _49-42-22-08-0192

(see instructions)

What is the property? Check all that apply.
Q Single-family home

Q Duplex or multi-unit building

LJ Condominium or cooperative

{] Manufactured or mobile home

entire property?

eee an me eS,

C) Check if this is community property

> Dor not deduct sectired claims:or. exemptions. F Put * :
othe’ amount of any sécured’claims on Schedule’ D:
reditors Who Have Claims Secured by Property.

Current value of the Current value of the

portion you own?

@ Land $ 210,000 ¢ 0.00
C} investment property
( Timeshare Describe the nature of your ownership

U other
Who has an interest in the property? Check one.

interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

TENANCY BY THE ENTIRETIES

LQ Debtor 1 only
CJ Debtor 2 only
CQ) Debtor 1 and Debtor 2 only

(fl At least one of the debtors and another (see instructions)

Other information you wish to add about this item, such as local
property identification number:

U) check if this is community property

Official Form 106A/B

Schedule A/B: Property

page 1
Case 6:24-bk-03843-LVV Doc13_ Filed 08/14/24 Page 4 of 61 r #

Debtor 1 CHAIM LEVILEV Case number (if known) 6:24-bk-03843-LVV
First Name _ Middle Name Last Name
What is the property? Check all that apply. Do not deduct sectired elaine of éxémptions. Put
. the amount of any ‘secured claims.on Schedule D:
: 1.3. U1 Single-family home a Creditors Who Have Claims: Secured by Property.
i Street address, if available, or other description u) Duplex or multi-unit building rovetcev nn atten ah
C1 Condominium or cooperative Current value of the - Current value of the
. entire property? portion you own?
CJ) Manufactured or mobile home . .
OQ) Land § $
(C} investment property
; “ : Describe the nature of your ownership
C State ZIP Cod
"y ° ode Timeshare interest (such as fee simple, tenancy by
Q) other the entireties, or a life estate), if known.

Who has an interest in the property? Check one.
W Debtor 4 only -

County Q Debtor 2 only
1 Debtor 1 and Debtor 2. only Q Check if this is community property
(J At least one of the debtors and another (see instructions)
Other information you wish to add about this item, such as local
property identification number:
2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages $ 342,500.00
: you have attached for Part 1. Write that number here. ...............2...c:c:sceeceeeceececeeeeecneeeeeeeneesaeseneesseeseeeseasenseeeeeees >

i

i

EERE vescribe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
‘ you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

i

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

* UONo i
i i Yes
3.1. Make: _CHEVORLE Who has an interest in the property? Check one. Bo not deduct secured: claims or exemptions. Put.
Mode SUBERBA = Woetirt only RES aes cou vee |

. —————— 1

Year: 2021 () Debtor 2 only mn we +See name
———— (] Debtor 4 and Debtor 2 only Current value of the Current value of the |

Approximate mileage: 65000 __ CJ At least one of the debtors and another entire property? portion you own?

i ee (1) Check if this is community property (see $ 43,000.00 $ 0.00 |
i if this i i

If you own ar have more than one, describe here:

32. Make: Who has an interest in the property? Check one. “Do. not: deduct secured ¢ claims or exemptions: Put
: "the amount of any secured’claims.on Schedule D:-
: Model: Q) Debtor 1 only : Creditors Who Have’ Claims Secured by Property.
i (4 Debtor 2 only : Saket aatn et -
i Year —_ (2 Debtor 4 and Debtor 2 only Current value of the Current value of the
: : . entire pro ? orti ?
Approximate mileage: (J At least one of the debtors and another tire property? Pomon you own
Other information:
L) Check if this is community property (see $ $
instructions)

Official Form 106A/B . Schedule A/B: Property page 2
Case 6:24-bk-03843-LVV Doc 13- Filed 08/14/24 Page 5 of 61 i i
pebtor1  CHAIM LEVILEV Case numbér grew 6:24-bk-03843-LVV

First Name Middle Name Last Name

33. Make: - Who has an interest in the property? Check one.
Model: Q) Debtor 1 only : 5 Sec
, Q Debtor 2 only Doaibaniuind dc acediace dane Wisin oa Saris mash wi
Year: Q Debtor 1 and Debtor 2 only Current value of the Current value of the
Oxi : i ? rtion n?
Approximate mileage: (J At least one of the debtors and another entire property? _ portion you ow
Other information: .
_(C) Check if this is community property (see $ $
instructions)
3.4. Make: . Who has an interest in the property? Check one. Do. hot deduct: secured dainns’ or: exempiions. =P t
: CO debtor 1. ont the ariount of. any secured. claims 6n Schedule D
Model: Q ebtor 1 only “Creditors. Who Have: Claims Secured by Property.
1 Debtor 2 only .
Year: O) debtor 4 and Debtor 2 only Current vaiue of the Current value of the
‘ Jaane: entire property? ortion you own?
Approximate mileage: CI Atleast one of the debtors and another Property P y
Other information:
L) Check if this is community property (see § $

instructions)

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

CI No i
Q) Yes
4.1. Make: Who has an interest in the property? Check one. -
“ CO pebtor + ont <the aniount of any “Secured.claims:on’ ‘Schedule D:
Model: 9 bet or > only. ~“Creditors:V Who Have Claims cured by Propet
ebtor 2 ont : ce
Year: QO y cs =
. ‘Debtor 1 and Debtor 2 only Current value of the Current value of the
Other information: () At teast one of the debtors and another entire property? portion you own?
Q] Check if this is community property (see $ $
instructions).

If you own or have more than one, list here:

42. Make: : : Who has an interest in the property? Check one. — alice ‘secured claire. or f exémptior
- 8 ‘th mount of: any 'secured claims ‘on: ‘Schedule Dire
Model: 5 Debtor 1 only 7s Who Have.Claims Secured by Property... -
Debtor 2 on! bes Pi

Year: y Current value of the Current value of the

UJ Debtor 1 and Debtor 2 only entire property? portion you own?
Other information: () At least one of the debtors and another

C] Check if this is community property (see $ $

instructions)

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages

0.00
you have attached for Part 2. Write that number Here ooo... cccccsccsssscssssssssecsessseecsescessssssssssesensnsssseene > S

Official Form 106A/B Schedule A/B: Property page 3
Case 6:24-bk-03843-LVV_ Doc13_ Filed 08/14/24 Page 6 of 61 ! i
Debtor 1° CHAIM . LEVILEV Case number (known) 6:24-bk-03843-LVV

First Name Middle Name Last Name

- Fre veserine Your Persona! and Household Items

“Current value of the.
oe portion you-own?
Do-not deduct secured lai

or exemptions. oso fon"

' 6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

QJ No
@ Yes. Describe.........

- 1 DINING TABLE 5 CHAIRS, 1 KITCHEN TABLE 4 CHAIRS, 1 BOOKSHEL, 1 SOFA, 3 QUEEN SIZE 3.000 00
BEDS / MATTRESS, VARIETY BEDDING AND LINEN, 3 LAMPS, VARIETY OF TOWELS, 2 SETS OF $ 1 ~
POTS; FOR KOSHER; MEATIDAIRY, + NESPRESSO-GOFFEE MAKER

7. Electronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media players, games .

L] No
i Yes. Desoribe......... 41 MACBOOK LAPTOP, 1 IPHONE, 2 TV'S, 1 IPAD TABLET, 1 HEADPHONES, 1’PRINTER | $ 1,600.00

8. Collectibles of value

Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
-WNo

LJ Yes. Describe.......... $ 0.00

9. Equipment for sports and. hobbies |

Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments

C2 No” . :
14 Yes, Desoribe....... 2 ADULT BICYCLE, 2 TENNIS RACKET, 1 DRILLAND TOOL SET § 700.00
10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment
WZ No
LI Yes. Describe.......... $ 0.00
11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories —
' UI No : ot
. Yes. Describe.......... 4 PANTS, 7 SHIRTS, 5 T-SHIRTS, 1 BATHING SUITE, 2 NIKE SNEAKERS, 4 BASEBALL CAPS, $ 2,000.00
1 PAIR OF ON CLOUD SNEAKERS, 2 BELTS, 2 BLACK JACKETS, 1 BORCELENO FADORA
12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver
No
CI Yes. Describe.......... $ 0.00

13.Non-farm animals
Examples: Dogs, cats, birds, horses
. i No - = - ;
C) Yes, Deseribe.......... , $ 0.00

14. Any other personal and household items you did not already list, including any health aids you did not list

Q No
- dl Yes. Give specific |. VARIETY CHILDRENS TOYS, 3 HIGHCHAIRS, 3 BABY CRIBS, 2 BABY STOLLERS, 2 500.00
information. ............. 1 PACK AND PLAY, 2 CAR SEATS, 2 TODLER SCOOTERS $ , :
45. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached : $ 9,800.00 -
for Part 3. Write that mumber Were ooo... cccccccccccccccsccssssscssssssssteusescnccnceeceesteentucecsssesssestiviuuteereens . > °

Official Form 106A/B Schedule A/B: Property " page 4

Case 6:24-bk-03843-LVV Doc13_ Filed 08/14/24 Page 7 of 61
Debtor’ .CHAIM LEVILEV 6:24-bk-03843-LVV

First Name Middle Name Last Name

Case.number (if known)

aa Describe Your Financial Assets

Do you own or.have‘any legal:or equitable interest:in any f.the following? eas "Current value of the
poe eens pag ee ER es fee te ee : portion you own?
_,. ‘Do not- deduct secured claims
“S orexemptions:.
16.Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
No
C) Yes... “ CASH oles $
17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
and other similar institutions. If you have multiple accounts with the same institution, list each.
No
CD Yes. eee: Institution name:
| 17.1. Checking account: \ $
: 17.2. Checking account: $
17.3. Savings account: $.
i 17.4. Savings account: $
17.5. Certificates of deposit: $
17.6, Other financial account: $
17.7. Other financial account: $
17.8. Other financial account: $
17.9. Other financial account: $
18, Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts
No
QD Yes. eee Institution or issuer name:
19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture ‘
OG No Name of entity: % of ownership:
Yes. Give specific HARMLES PRODUCT LLC . 50 % $ 750,000.00
information about
them . %

i . 9
i %

Official Form 106A/B Schedule A/B: Property page 5
Case 6:24-bk-03843-LVV Doc 13 Filed 08/14/24 Page 8 of 61 ' ‘
bebtor?  CHAIM LEVILEV Case number ¢rtron,8:24-Dk-03843-LVV

First Name Middle Name Last Name

20. Government and corporate bonds and other negotiable and non-negotiable instruments
: Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
: Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
No
L] Yes. Give specific Issuer name:
‘information about
thEM...0. eee $
$
$
21. Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
No
C) Yes. List each
account separately. Type of account: Institution name:
401(k) or similar plan: §.
Pension plan: $
IRA: $
Retirement account: $
Keogh: $
Additional account: $
Additional account: $
22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others
id No
DD Yes ccc cccecesesseeeeeee Institution name or individual:
Electric: $
Gas: -¢
Heating oil: $
Security deposit on rental unit: $
Prepaid rent: $
Telephone: $
Water: $
Rented furniture: $
Other: $
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
No
CD Ves... cccesecseeseen Issuer name and description:
$
$

Official Form 106A/B Schedule A/B: Property page 6

. Case 6:24-bk-03843-LVV Doc13_ Filed 08/14/24 Page 9 of 61
Debtor 1 : CHAIM LEVILEV Case number (if known) 6:24-bk-03843

-LVV

First Name Middle Name Last Name

i 24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
No

DYES nent institution name and description. Separately file the records of any interests.11 U.S.C. § §21(c):

_25.Trusts, equitable or future interests in property. (other than anything listed inline 1), and rights or powers
exercisable for your benefit

Yi No

1 Yes. Give specific .
information about them.... . . . $

0.00

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

QL) No

Yes. Gi if :
information about them,,,{ 50% INTEREST IN - U.S. PATENT #10,548,348 / EST. VALUE OF $500,000 | ¢

250,000.00

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

No
C) Yes. Give specific

0.00

information about them... $

28. Fax refunds owed to you

Current value of.th
portion.you' own’
-Do not-déduct secured
~Claimns.or exernptions..

No _
&) Yes. Give specific information. : Federal: 0.00
about them, including whether
you already filed the returns - State:
and the tax years. ee
Local:
29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
YW No
L) Yes. Give specific information..............
Alimony: $ 0.00
Maintenance: $
Support: $
Divorce settlement: $
Property settlement: $
30. Other amounts someone-owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
Social Security benefits; unpaid loans you made to someone else
OQ) No ,
Yes. Give specific information............ be me
P UNPAID DISTRIBUTIONS & SALARIES FROM HARMLESS PRODUCTS, LLC. | ¢. 150,000.00
Official Form 106A/B Schedule A/B: Property page 7

Case 6:24-bk-03843-LVV Doc13 Filed 08/14/24 Page 10 of 61 :
pestors  CHAIM LEVILEV case number (irom _8:24-Dk-03843-LVV

First Name Middle Name Last Name

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter’s insurance

UW No

( Yes. Name the insurance company — Company name: : - Beneficiary: , Surrender or refund value:
of each policy and list its value. ...

32. Any interest in property-that is due you from someone who has died
If you aré the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currenily entitled to receive
property because someone has died.

4 No

CJ Yes. Give specific information..............

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

QC) No

(4 Yes. Describe each claim...

34.Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and.rights
to set off claims

4 No

C] Yes. Describe each claim. ......ccscce-

$
35. Any financial assets you did not already list
i4-No
CI} Yes. Give specific information............ $

36. Add.the dollar value of all of your entries from Part 4, including any entries for pages you have attached

for Part 4. Write that mumber here ooo... ccc ccc ccesecsescssssnesssessseasssssecussesesseassscsssseesesseseeuaseseseenessauesesanseeesesueasseesensenesesensess > $ 1,150,000.0

EE Descrive Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1. |

37.Do you own or have any legal or equitable interest in any business-related property?
CJ No. Go to Part 6.
id Yes. Go to line 38.

cur nt: value of the’
portio you. own?...

De. not dediict Secured. claims: :
or’ exemptions: ’ bE ate

38. Accounts receivable or commissions you already earned

id No
UL) Yes. Deseribe....... 0.00

39. Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

i No

C} Yes. Describe....... . s 0.00 |

Official Form 106A/B Schedule A/B: Property page 8
. Case 6:24-bk-03843-LVV Doc13_ Filed 08/14/24 Page 11 of 61 ‘ ‘
Debtor 4 CHAIM LEVILEV Case number (known) 6:24-bk-03843-LVV

First Name Middle Name Last Name

| 40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade : i

uw No : -
LI) Yes. Describe....... ‘ 0.00
41. Inventory
Wd No .
Q) Yes. Describe....../ 5 0.00

42. Interests in partnerships or joint ventures

No

CI. Yes. Describe....... . Name of entity: . % of ownership:
% $ 0.00
% $
% §

43. Customer lists, mailing lists; or other compilations
id No .
CQ Yes. Do your lists. include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
LI No. : . ,
(J Yes. Describe........

§ 0.00

44. Any business-related property you did not already list
Wf No

] Yes. Give specific
information .........

0.00

PP fH FH HH HH

_ 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $ 0.00
for Part 5. Write that number here ................... seonsseceneceeecenunnstssseriseccensessssnnstseissesseneeseansnensestesteseieeeeett >

Describe Any Farm- and Commercial Fishing-Related: Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

46, Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

Wf No. Goto Part 7.
L} Yes. Go to line 47.

‘Bo not deduct sécured claims ©

Srexemptions:
47. Farm animals \ i
Examples: Livestock, poultry, farm-raised fish
Wf No
CD Ves i ccccccscceneeee:
$ 0.00

Official Form 106A/B Schedule A/B: Property : page 9
Case 6:24-bk-03843-LVV Doc 13 Filed 08/14/24 Page 12 of 61 , ‘

“CHAIM

First Name

LEVILEV

Last Name

Debtor 1
: Middie Name

48. Crops—-either growing or harvested

Case number (if known),

6:24-bk-03843-LVV

55. Part 1: Total real estate, line 2 ..

56, Part 2: Total vehicles, line 5 $ 0.00
57. Part 3: Total personal and household items, line 15 $ 9,800.00
58. Part 4: Total financial assets, line 36 $ 1,1 50,000.00
59. Part 5: Total business-related property, line 45 $. 0.00
: 60. Part 6: Total farm- and fishing-related property, line 52. ~ $ 0.00
61. Part 7: Total other property not listed, line 54 +s 0.00

62. Total personal property. Add-lines 56 through 61. eccesceeseeeeeeee

s_1,159,800.00

Copy personal property total >

a No -
U Yes. Give specific
information. ..........:. $ 0.00
49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
@ No
UD Ves veces .
5 0.00
50. Farm and fishing supplies, chemicals, and feed
UW No
WD VeS ees
$ 0,00
. 54. Any farm- and commercial fishing-related property you did not already list
“No ‘
CL] Yes. Give specific
information. ............ $ 0.00
52: Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $ 0.00
for Part 6. Write that number here occ ecccssscscsssssssssecccsssssnsecesssseccssvensecusveseessseeeesecnestensenaseenen >
Describe All Property You Own or Have an Interest in That You Did Not List Above
53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership
No 0.00
CJ Yes. Give specific
information. ............
54. Add the dollar value of all of your entries from Part 7. Write that number here ....................-.ecse sees ee ee esseesteneseeseenes > g_—«i.00
List the Totals of Each Part of this Form
J
q
sessesentisssssceunsssssssusseesencensossesssunanisunecarenseasssssusessssucececetanssussueedecteseesnusnseeceseesanuantseutteeeeeseeneee > § 342,500.00

+5 1,159,800.0

g _ 1,502,300.00

Case 6:24-bk-03843-LVV Doc13 Filed 08/14/24 Page 13 of 61

Re: Chaim Levilev Case Number: 6:24-bk-03843-LVV

Overflow - Schedule A/B: Property

26 . Patents, copyrights, trademarks, trade secrets, and other intellectual property

Specific information about them...
50% INTEREST U.S. PATENT #10,548,348

50% INTEREST IN TRADEMARKS: (1) HARMLESS CIGARETTE [SN# 86820888]
(2) QUITGO [SN# 87061173] (3) QUIT STIX [SN# 87359765] (4) QUIT WTR [SN# 87697993]

ALL LISTED IP ASSETS ARE OFFICIALLY OWNED BY HARMLESS PRODUCTS LLC. (FORMER
BUSINESS PARTNER) NOSSEN LEVILEV, FRAUDULENTLY TRANSFERRED THEM OUT OF
HARMLESS PRODUCTS, LLC TO HIS PERSONAL COMPANY, (SWR INTL LLC.) WITHOUT MY
KNOWLEDGE, CONSENT, OR CONSIDERATION.

30 : Other amounts someone owes you

Specific information about them...

UNPAID DISTRIBUTIONS & SALARIES FROM HARMLESS PRODUCTS, LLC. IN ADDITION TO
AMOUNT LISTED ON (PART 4: LINE 19) OWED BY NOSSEN LEVILEV (FORMER BUSINESS
PARTNER) AND HARMLESS PRODUCTS, LLC FOR THEIR IRREVOCABLE ELECTION TO
PURCHASE MY 50% IN HARMLESS PRODUCTS, LLC

3 3 . Claims against third parties, whether or not you have filed
. a lawsuit or made a demand for payment

Specific information about them...

ON MAY 8, 2023 WITHOUT MY KNOWLEDGE, CONSENT, OR CONSIDERATION (FORMER
BUSINESS PARTNER) NOSSEN LEVILEV FILED A FRAUDULENT “QUIT CLAIM DEED’ (ATTACHED
BELOW) AND TRANSFERED REAL PROPERTY ONWED BY HARMLESS PRODUCT:
[ADDRESS:-200 W. PROSP OAKLAND PAF :

TO HIS PERSONAL COMPANY, (BLUE SKY INDUSTRIE , LLC) IN CONSIDERATIO

SUBSEQUENTLY, ON MAY 18, 2023 NOSSEN LEVILEV FILED A FRAUDULENT “CORRECTIVE QUIT
CLAIM DEED” (ATTACHED BELOW) TO TRANSFER THE PROPERTY TO HIS OTHER PERSONAL
COMPANY (ELEVATE HEALTH, LLC) IN CONSIDERATION FOR $10.00.

Overflow - Overflow - Schedule A/B: Property Page 1 of 1
“Instr# 118839@88e 6:FagR-d3883-2 VPRO Uses OBB ERB Rat BOEaS PM 61

Broward County Commission
Deed Doc Stamps: §0.70

Prepared by and retum to:

Rachamin Coken, Esq.

Cohen Legal Services, P.A,

1801 Northeast 123" Street., Suite 314
North Miami, FL 33181

305-570-2326

[Space Above This Line For Recording Data]

Quit Claim Deed.

This Quit Claim Deed made thiszom day of March, 2023 between Harmless Products, LLC, a Florida limited tiability
company, whose post office address is 1722 Sheridan Street, #358, Hollywood, FL 33009, grantor, and Blue Sky
Industries, LLC a Wyoming limited liability company, whose post office address is 312 W. 2"! Street, #3686, Casper,
WY $2601, grantee:

(Whenever used herein the ferms “grantor” and "grantec" include all the parties to this instrument and the heirs, legal representatives, and assigns of
individuals, and the successors and assigns of corporations, trusts and trestees) .

Witnesseth, that said grantor, for and in consideration of the sum TEN AND NO/100 DOLLARS ($10.00) and other good
and valuable consideration to said graritor in hand paid by said grantee, the receipt whereof is hereby acknowledged, does
hereby remise, release, and quitclaim to the said grantee, and grantee’s heirs and assigns forever, alf the right, title, interest,
claim and demand which grantor has in and to the following described tand, situate, lying and being in Broward County,
Florida to-wit:

The West 58 feet of Lot 9, Block 1, according to the plat thereof as recorded in Plat Book 22, page 26,
Public Records of Broward County, Florida.

Property Identification No.: 49-42-22-08-0192
Property Address: 200 W. Prospect Street AKA 200 NW 44" Street, Oakland Park, FL 33334
Subject to taxes for 2022 and subsequent year; covenants, conditions, restrictions, easements,

reservations and limitations of record, if any.

No title search was performed on the subject property ‘by the preparer, The preparer ‘of this deed
makes neither representation as to the status of the title nor property use or any zoning regulations
concerning described property herein conveyed nor any matter except the validity of the form of this
instrument. Information herein was provided by the Granters/Grantees.

To Have and to Hold, the same together with all and singular the appurtenances thereto. belonging or in anywise
appertaining, and all the estate, right, title, interest, lien, equity and claim whatsoever of grantors, either in law or equity, for
the use, benefit and profit of the said grantee forever.

In Witness Whereof, grantor has hereunto set grantor’s hand and seal the day and year first above written.

DoubleTime®-
Instr# 118839283. 6 FagR 330f32 uF bse 1B°SPNER he/14/24 Page 15 of 61

Signed, sealed and delivered in our presence:

of. —- +  LMesinn Levlras

‘Nossen Leviley

Witness A“ fa adie:

Mines Nahe: _— ney ney Eye

State of Florida
County of Broward Sw
fe Vy uy

The foregoing instrument was acknowledged befere me this 77) day of -Meneh: 2023 by Nossen Levilev, whe {_} is

personally known or [\y] has produced FL. drives Licemse as identification.

[Notary Seal] . Notary Public

Printed Name: ky bee Wi ikeySuin

ei SKYLER WILKERSON : Cc ission Expires:
Notary Public - State of Florida My Commission Expires iz |r Jace

Commission # HH 339527
* My Comm, Expires Dec 7, 2026.

Quit Claim Deed - Page 2

DoubleTime®
Broward .County Commiss1
Deed Doc Stamps: $0.70

Instr# 118863866 4 Hage bets A RBRESS BREUER At AR To Bt on ’

Rachamin Cohen, Esq.

Cohen Legal Services, P.A.

StH Northeast 123 Street , Suite 314
North Miami, FL 33181

305-570-2326

|Space Ahove This Line For Recording Data]

Corrective Quit Claim Deed

This Quit Claim Deed made thisf7 day of May, 2023 between Harmless Products, LLC, a Florida limited liability
company, whose post office address is 1722 Sheridan Street, #358, Hollywood, FL 33009, grantor, and Elevate
Health, LLC, a Florida Limited Liability Company, whose post office address is 407 Lincoln Road, Suite 6H-PMB 1043,
Miami Beach, FL 33139, grantee:

«Whenever used herein the terms “grantor” and “grantee” include all the parties to this instrument and the heirs. legal representatives, and assigns
ae VF inuliy iduals. and the successors and assigns of corperalions. Irusis.and trustees)

Witnesseth, that said grantor, for and in consideration of the sum TEN AND NO/100 DOLLARS ($10.00) and other
good and valuable consideration to said grantor in hand paid .by said grantee, the “receipt whereof is
hereby acknowledged, does hereby remise, release, and quitclaim to the said grantee, and grantee's heirs and assigns
forever, all the right, title, interest, claim and demand which grantor has in and to the ‘following described land,
situate, lying and being in Broward County, Florida to-wit:

The West 50 feet of Lot 9, Block [, Prospect Gardens, according to the plat thereof as recorded in
Plat Book 22, page 26, Public Records of Broward County, Florida.

Property Identification No.: 49-42-22-08-0192 Property Address: 200 W, Prospect Street AKA 200
NW 44" Street, Gakland Park, FL 33334

Subject to taxes for 2022 and subsequent year; covenants, conditions, restrictions, easements,
reservations and limitations of record, ifany. No title search was performed on the subject
property by the preparer. The preparer of this deed makes neither representation as to the status

- of the titte nor property use or any zoning regulations concerning described property herein -.
conveyed nor any matter except the validity of the form of this instrument. Information herein was
provided by the Grantors/Grantees.

This Corrective Quit Claim Deed is intended to correct the error in the Legal Description and in the

. signature line on the Quit Claim Deed dated March 20, 2023 which was filed for record on May 8,

2023, as Instrument Number 118839789, in the Public Records of Broward County, Florida.
‘To Have and to Hold, the same together with all. and singular the appurtenances thereto belonging or in
any wise appertaining, and all the estate, right, title, interest, lien, equity and claim whatsoever of grantors, either in law or
cquily. for the use, benefit and profit of the said grantee forever.

In Witness Whereof, grantor has hereunto set grantor's hand and seal the day and year first above written.
_ Instr® 118862888) 6: 2EBR.d3s88-Lyve Bot do Ped dB/14/24 Page 17 of 61 :

Signed, sealed and delivered in our presence:

TY@per toon? 5 Harmless Products, LLC,
a Florida Limited Liability Company

Witness Name: Sever loonis
m
¢

Witness fame: AS yuZaNna. Nameskt

Nossen Levilev, Managing Director

State of Florida
County of Broward

The foregoing instrument was acknowledged before.me this? 7 day of May, 2023 by Nossen Levilev, who [ J is

personally known ot (J bas produced De as identification.
[Notary Seal] otary Public
ewe Printed Name: - (vc e40Cy Lea
‘Up, v
Sa GREGORY IYAR —
+ AGG * Commissions HH 200862 My Commission Expires: Avs. © 5.20 26

7e ‘OF nse Expires August §, 2026

Out ham Deed - Page 2
Case 6:24-bk-03843-LVV Doc13 Filed 08/14/24 Page 18 of 61

BUSINESS VALUATION

Nossen Levilev
Harmless Products, LLC

Dear Mr. Levilev
As requested, we have prepared a valuation of the Fair Market Value of a 100% interest in

Harmless Products, LLC as of June 30, 2021 on a control, non-marketable basis regarding plan-
ning.

Based on the information collected and analyzed, as presented in the Valuation Report
that follows, it is our opinion that the Fair Market Value of a 100% interest in Harmless Products,
LLC as of June 30, 2021 on acontrol, non-marketable basis is in the amount of:

ONE MILLION FOUR HUNDRED NINETY-FIVE THOUSAND ONE HUNDRED
DOLLARS
$ 1,495,100

__ The Valuation Report is subject to the attached Statement of Procedural Policies. The Re-
port is also subject to the attached Assumptions and Limiting Conditions and Extraordinary As-
sumptions. Also attached is the resume of the undersigned who provided the valuation services
in this engagement. ,
Sincerely,

tine Gaccaniee

Christina Yaccarino, CPA/ABV, CFF, ASA

555 Broadhollow Road, Suite 405 | Melville, NY 11747 | 516-794-4264
1100 Peachtree Street, Suite 200 | Atlanta, GA 30309 | 678-941-8071

www,jbval.co
Case 6:24-bk-03843-LVV Doc13 Filed 08/14/24 Page 19 of 61 £5

MUM UM ZelertCliCola mom le (tal ti Mazel emer t-1oH

nebtort  CHAIM LEVILEV

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name . Middle Name Last Name

United States Bankruptcy Court for the: Middle District of Florida
Case number _6:24-bk-03843-LVV - (Check if this is an
(if known) amended filing

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.

Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively; you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

identify the Property You Claim as Exempt

' 4. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

Y You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
(J) You are claiming federal exemptions. 14 U.S.C. § 522(b)(2)

. 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description. of'the property and line on™ Current value ofthe | Amount of the exemption you claim Specific taws that allow exemption

* Schedule.A/B that lists this property ~~ _portion.you own . Soe slokrs a :
& 5... Copy the value from. ~ Check only one’ box for each exemption.

oo Schedule AB 8.
“ieseription: AUTOMOBILE, FAIR CONDITION $ 0.00 g 1,000.00
Line from LJ 100% of fair market value, up to

Fla. Stat. Ann. § 222.25 (1)

Schedule A/3: 3:1 any applicable statutory limit

we ee = oe DINING TABLE 5 CHAIRS,1 KITCHEN TABLE 4. -. - ---—~----— - —---—- i ee a ne an a ene ee ee
CHAIRS, 1 BOOKSHEL, 1 SOFA, 3 QUEEN SIZE BEDS / ,

_ Brief REN Ce — 6 5 000,00 Ws 3,000.00
: description: - $2, : O su’ i
. 100% of fair market value, up to !
Li 1
Sonar AB: 6 any applicable statutory limit (TBE) PER FL COMMON LAW
diesuription: 2ADULT BICYCLE, 2 TENNIS RACKET, ¢ 600.00 $ 600.00
Line from C) 100% of fair market value, up to (TBE) PER FL COMMON LAW

Schedule A/B: _9 any applicable statutory limit

’ 3, Are you claiming a homestead exemption of more than $189,050?
(Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

W No

C) Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

() No
_ Ov Yes oe oe

Official Form 106C Schedule C: The Property You Claim as Exempt page 1 of __
Case 6:24-bk-03843-LVV Doc13 Filed 08/14/24 Page 20 of 61 cs

CHAIM

First Name

LEVILEV

Last Name

Debtor 14

Middle Name

Additional Page

}

Case number (if known), 6:24-bk-03843-LVV

~ Current value of the
portion. you own’

__ Brief description’ of the-property and fine
on Schedule A/B that lists this property

_ Amount of the exemption you claim

"Check only ore ox for each exemption -

Ws 2,500.00

©} 100% of fair market value, up to
_any applicable Statutory | limit

Ws 800.00

( 100% of fair market value, up to
any applicable statutory limit

Ms _ 250.00

CJ 100% of fair market value, up to
any applicable statutory limit

Ws 400.00

CY 100% of fair market value, up to
_any applicable : Statutory limit

Ws 450.00

LJ 100% of fair market value, up to
any applicable statutory limit

Ws 210,000.00

CJ 100% of fair market value, up to
any applicable Statutory limit

Os 100.00

C2 100% of fair market value, up to

CJ 100% of fair market value, up to
any applicable statutory limit

Os

“Copy the value from °

Schedule A/B
Brief CRIBS. 2 BABY STOLLERS, 1 PACK AND PLAW 2 CAR 2 500.00
description: SEATS, 2 TODLER SCOOTERS $ ’ .
Line from 14
ScheduleAB: 0 eee ee
Brief
description, —-MACKBOOK ___—s 800.00
Line from
Schedule A/B:
Brief 1 PHONE 13 5 250.00
description:
Line from 7
Schedule AB:
Brief 1 IPAD MINI $ 400.00
description:
Line from 7
Schedule AB
Brief 2TV'S $ 450.00
description:
Line from
Schedule A/B:

400 SCOTT DRIVE, (OWNED AS
Sten TENANCY BY THE wv (OmneDAs $ 0.00
Line from 1.2
Schedule AB:
Brief 1DRILLAND TOOLSET g 100.00
description:
Line from 9
Schedule ABi ce
Brief Ne aR gras SESS jeer sure 2 2 000.00
OUD SNEAKERS, 2 BELTS, 2 BLACK JACKETS,

description: eo ee OS 000.
Line from 11
Schedule A/B:_ ————
Brief
description: §
Line from

Schedule APB: —

Brief

CQ 100% of fair market value, up to
any ¥ applicable statutory limit

Os

description: $
Line from
Schedule AB:

Brief
description: $

LI 100% of fair market value, up to

_any applicable statutory limit

Os

Line from
Schedule A/B;._ ————

Brief

description: $

LJ 100% of fair market value, up to
any applicable statutory limit

Lig

Line from
Schedule A/B:

C) 100% of fair market value, up to
any ¥ applicable Statutory it limit

_ (TBE) PER FL COMMON LAW

Specific laws that allow exemption

Fla. Stat. Ann. § 222.25 (4)

Fla. Stat. Ann. § 222.25 (4)

Fla. Stat. Ann. 8 222.25 (4)

(TBE) PER FL COMMON LAW

(TBE) PER FL COMMON LAW

Fia. Stat. Ann. § 2 222.25 6)

any applicable statutory limit

Fla. Stat. Ann. § 222.25 (4)

Case 6:24-bk-03843-LVV Doc13 Filed 08/14/24 Page 21 of 61

Re: Chaim Levilev Case Number: 6:24-bk-03843-LVV

Overflow - Schedule C:
The Property You Claim as Exempt

Brief description:

400 SCOTT DRIVE, (OWNED AS TENANCY BY THE ENTIRETY)
Line: 1.2 from Schedule A/B:

Specific laws that allow exemption:
References:
» Florida c itution Article X. Section 4
* Florida Statutes Section 222.21(2)(b)
* Beal Bank, SSB v. Almand and Associates, 780 So. 2d 45 (Fla. 1)

Overflow - Schedule C: The Property You Ciaim as Exempt Page 1 of 1
Case 6:24-bk-03843-LVV Doc13 Filed 08/14/24 Page 22 of 61

&
a

MUM ULM UNielmiarcleColam Com (el-Valtliantzell) mer=tsion

pebtort _ CHAIM LEVILEV

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Middle District of Florida

Case number 6:24-bk-03843-LVV
= W Check if this is an
amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
(I No. Check this box and submit this form to the court with your other schedutes. You have nothing else to report on this form.
@ Yes. Fill in all of the information below.

List All Secured Claims

2. List all secured clalins. if a creditor has more than o one > secured claim, list the creditor xr separately
for each claim.: if more.than one. creditor has a: particular. claim; list the other.creditors in Part 2."
As much as Possible, ti Hist the claims i in alphabetical o order. Pagcording to to the creditor's name.”

wa i Column C
: Unsecured .
A portion

za AMERICAN CREDIT ACCEPTANCE Describe the property that secures the ‘claim:
Creditors Name

961 E MAIN STREET AUTOMOBILE SUBURBAN CHEVROLET

Number Street

As of the date you file, the claim is: Check ail that apply.

C} Contingent
SPARTANBURG SC 29302 ( unliquidated

City State ZIP Code O bisputed
Who owes the debt? Check one. Nature of lien. Check ail that apply.
WW Debtor 1 only ( An agreement you made (such as mortgage or secured
CJ Debtor 2 only car loan)
QO) Debtor 1 and Debtor 2 only (1 Statutory lien (such as tax lien, mechanic’s lien)
(C) Atleast one of the debtors and another C) Judgment lien from a lawsuit

C) other (including a right to offset)

UO Check if this claim relates to a
community debt

Date debt was incurred 11/1/2023 Last 4 digits of account number 1 7 1 4
| 2.2} Describe the property that secures the claim: $ $ $.

Creditor's Name

Number Street
As of the date you file, the claim is: Check all that apply.
OQ) contingent
C) unliquidated
City State ZIP Code CG) disputed
Who owes the debt? Check one. . Nature of lien. Check all that apply.
CY Debtor 1 only . C1 Anagreement you made (such as mortgage or secured
Q) Debtor 2 only car loan)
(2 Debtor 1 and Debtor 2 only Q Statutory lien (such as tax lien, mechanic's fien)
CD Atleast one of the debtors and another CY Judgment lien from a tawsuit

L) Other (including a right to offset)

() Check if this claim relates to a
community debt

Date debt was incurred == Last 4 digits of account number
Add the. dollar valt

of your entries in Column A o page. ‘Write: that number here: as b 4,227.00

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 1
Case 6:24-bk-03843-LVV Doc13 Filed 08/14/24 Page 23 of 61

&
2)

Re: Chaim Levilev Case Number: 6:24-bk-03843-LVV

Overflow - Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property

The Initial Short Filling of [Official Form 106D] had missing/incorrect information.
Amended Filing Details and Corrections

e Part 1: CORRECTED
' Updated Section 2.1
| corrected the creditor's address since | received a notice dated July 28, 2024,
stating that USPS had determined that the creditor's address was undeliverable.

I’ve been able to locate the correct Address Reported by the Credit Bureau and
updated the information.

Other Details:
Role type/cr id: 31061870

Overflow - Schedule D: Creditors Who Have Claims Secured by Property Page 1 of 1
Case 6:24-bk-03843-LVV . Doc 13 Filed 08/14/24 Page 24 of 61 Lo

. i i___7= isp
SLUT alice incedduir-L ter mem (el-1n18] WV Zell Laker totes . - 3 i
pentor1 . CHAIM LEVILEV

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: (Middle District of Florida

6:24-bk-03843-LVV LJ Check if this is an
monn) . . amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 4215

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and.on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is

"needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

al List All of Your PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?
I) No. Go to Part 2.

nonpriority. apeaat
“unsecured d claims, fil

21

IRS Last 4 digits of account number g-
* Priority Creditor's Name
PO BOX 802501 When was the debt incurred?
Number Street
‘As of the date you file, the claim is: Check all that apply.
CINCINNATI OH 45280 WJ Contincent
City State ZIP Code onungen

u Unliquidated

Who incurred the debt? Check one. Q Disputed

4 Debtor 1 only
(1 Debtor 2 only Type of PRIORITY unsecured claim:
(] Debtor 1 and Debtor 2 only

: (] Domestic support obligations
CI At least one of the debtors and another

a Taxes and certain other debts you owe the government

Q) Check if this claim is for a community debt CJ Claims for death or personal injury while you were

is the claim subject to offset? intoxicated
No Q) other. Specify
QO) Yes

Last 4 digits of account number

———— +§ $ $

Priority Creditors Name
When was the debt incurred?

Number _ Street -
As‘of the date you file, the claim is: Check all that apply.
oo: -O Contingent
City State ZIP Code CQ] Untiquidated
Who incurred the debt? Check one. QC Disputed

CQ Debtor 1 only

C) Debtor 2 only

C) Debtor 1 and Debtor 2 only

OQ) Atleast one of the debtors and another

Type of PRIORITY unsecured claim:
C2 Domestic support obligations _
U) Taxes and certain other debts you owe the government

Jai t injury whil
C} Check if this claim is fora community debt C1 Claims for death or personal injury while you were

intoxicated
Is thé claim subject to offset? (other. Specity
QI No :
C] Yes

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims / page 1of_
Case 6:24-bk-03843-LVV. Doc13 Filed 08/14/24 Page 25 of 61

CHAIM LEVILEV

Debtor 1

Case number (if known), 6:24-bk-03843-LVV it.

First Name Middle Name Last Name

. er List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?
LC) No. You have nothing to report in this part. Submit this form to the court with your other schedules.

ks ] NALUATION LITIGATION SERVICES LLC

Last 4 digits of account number 5. 07 6 oO

Who incurred the debt? Check one.

Wd Debtor 1 only

C) Debtor 2 only

(© Debtor 1 and Debtor 2 only

L) At least one of the-debtors and another

O) Check if this claim is for a community debt

Is the claim subject to offset?
td No
QC) Yes

Nonpricrity Creditors Name $ . 3,439:49
924 N MAGNOLIA AVE #118 When was the debt incurred? 6/30/22
Number Street
‘ORLANDO FL 32803
City State ZIP Code As of the date you file, the claim is: Check ail that apply.
wg Contingent
Who incurred the debt? Check one. @ uniiquicated
J Debtor 1 only aw Disputed
C) Debtor 2 only
(J Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
Q] Atleast one of the debtors and another 2 Student loans
CI Check if this claim is for a community debt UL Obtigations arising out of a separation agreement or divorce
that you did not report as priority claims
Is the claim subject to offset? (2 Debts to pension or profit-sharing plans, and other similar debts
d No W other. Specity OVERCHARGED FEES
Q) Yes
42 } AMEX Last 4 digits of account number 9 7 9 3° s____ 6,673.00 |
Nonpriority Creditor’s Name When was the debt incurred? 2023
PO BOX 981537
Number Street
EL PASO TX 79998 As of the date you file, the claim is: Check all that apply.
City State ZIP Code Contingent
Who incurred the debt? Check one. Q) unliquidated
© Debtor 1 onty WF Disputed
C) Debtor 2 only .
(2 Debtor 4 and Debtor 2 only Type of NONPRIORITY unsecured claim:
(2 At least one of the debtors and another | CJ Student loans
de aus oo So CJ Obligations arising out of a separation agreement or divorce
C) Check if this claim is for a community debt that you did not report as priority claims
Is the claim subject to offset? (J Debts to pension or profit-sharing plans, and other similar debts
No @ other. Specify. CREDIT CARD
O) Yes
4,
C3 | AFFIRM INC Last 4 digits of account number X 1 V__Y_ 3 239.00
Nonpriority Creditors Name When was the debt Incurred? 5/3/2024 $e
. . V ————
650 California St Fi 12
Number Street .
SAN FRANCISCO CA 94108 : a
City State Si Code As of the date you file, the claim is: Check ail that apply.

Q) Contingent
() unliquidated

a Disputed

Type of NONPRIORITY unsecured claim:

{J Student loans

Ql Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

(2 Debts to pension or profit-sharing plans, and other similar debts

@ other. Specity_ CREDIT CARD

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

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Debtor 1

ES Your NONPRIORITY Unsecured Claims — Continuation Page

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CHAIM LEVILEV

First Name Middle Name Last Name

Case number (known) 6:24-bk-03843-LVV ta

‘After listing any entries on'this. page, number them beginning with 4.4, followed by 4.5, and so forth.

y

Total claim:

Who incurred the debt? Check one.

Wd Debtor 1 only

() Debtor 2 only

(CJ Debtor 4 and Debtor 2 only

(2) Atleast one of the debtors and another

C} Check if this claim is for a community debt

Is the claim subject to offset?

a No
QO) Yes

4.4
BLOODWORTH LAW, PLLC Last 4 digits of account number 6 Q- 8 a 3 70,721.8
Nonpriority Creditor's Name
h incurred? 10/7/22
801 N MAGNOLIA AVE #216 When was the debt incurre
Number Street '
ile, laim is: | .
ORLANDO FL 32803 As of the date you file, the claim is: Check all that apply.
City State ZIP Code wf Contingent
if Unliquidated
Who incurred the debt? Check one. W@ Disputed
Wf Debtor 1 only
C) Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only D Student loans
At least one of the debtors and another C) Obligations arising out of a separation agreement or divorce that
C) Check if this claim is for a community debt you did not report as priority claims
y (CJ Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? @ other. Specity OVERCHARGED LEGAL FEE
1 No
w Yes
45 7 4
ANDREWS PLAZA, LLC Last 4 digits of accountnumber 8 3) 7 1_ $ 52,781,40
Nonpriority Creditors Name
When was the debt incurred? 1/19/2023
201 S BISCAYNE BLVD, SUITE 2700
Number Street
As of the date you file, the claim is: Check all that apply.
MIAMI FL 33131 $ y aware
City State ZIP Code i Contingent
i Unliquidated
Who incurred the debt? Check one. Wf Disputed
4d Debtor 1 only
Cl Debtor 2 only Type of NONPRIORITY unsecured claim:
C) Debtor 4 and Debtor 2 only . Student foans
C1) Atleast one of the debtors and another () Obligations arising out of a separation agreement or divorce that
fat es . you did not report as priority claims
U1 Check if this claim is for a community debt U2 Debts to pension or profit-sharing plans, and other similar debts
is the claim subject to offset? @ other. Specify
@ No THE LANDLORD AGREED IN WRITING TO ACCEPT $6,390.00 IN 4 PAYMENTS.
C1 Yes BUT HIS ATTORNEY IGNORED IT AND PROCEEDED TO UNLAWFULLY OBTAIN
AJUDGMENT WITHOUT MY KNOWLEDGE AND {MPROPER SERVICE.
“ Last 4 digits of accountnumber 5 O 8 O site 4,267.0
BMW FINANCIAL SERVICES = +
Nonpriority Creditor's Name
When was the debt incurred? 6/1/22
PO BOX 3608
Number - Street
file, im is: ly.
DUBLIN OH 43016 As of the date you file, the claim is: Check all that apply.
City State ZIP Code Q Contingent

() Untiquidated
W@ Disputed

Type of NONPRIORITY unsecured claim:

() Student loans

QO Objigations arising out of a separation agreement or divorce that
you did not report as priority claims
() Debts to pension or profit-sharing plans, and other similar debts

i other. Specify. AUTOMOBILE

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Ciaims

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Debtor 1

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CHAIM LEVILEV

First Name Middle Name Last Name

Case number (known), 6:24-bk-03843-LVV ae

fa NONPRIORITY Unsecured Claims — Continuation Page

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After listing any entries on this page, number them beginning with 4.4, followed by 45, and.so forth.

NOSSEN LEVILEV

Nonpriority Creditors Name

325 FARMINGTON DRIVE

Last 4 digits of account number 6 0 8 5 __

When was the debt incurred? 2022

“Total claim’.

¢ UNKNOWN

Who incurred the debt? Check one.

@ Debtor 1 only

CY Debtor 2 only

CD Debtor 1 and Debtor 2 only

CQ) Atleast one of the debtors and another

Q) Check if this claim is fora community debt

Is the claim subject to offset?

UC] No
a Yes

Number Steet As of the date you file, the claim is: Check all that app!
PLANTATION FL 33317 SO fe you file, the claim is: Check all that apply.
City State ZIP Code Wf Contingent
wf Unliquidated
Who incurred the debt? Check one. Ww Disputed
Wa Debtor 1 only
Q) pebtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only CG student loans .
Atleast one of the debtors and another Q) Obligations arising out of a separation agreement or divorce that
C1 Check if this claim is for a community debt you did not report as priority claims
QC) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? @ other. Specify
Q No OWNERSHIP LITIGATION REGARDING HARMLESS PRODUCTS,
ves LLC, FALSELY ALLEGING UNSPECIFIED AMOUNT OWED.
4.8 |
SMOKE-FREE WORLD FOUNDATION Last 4 digits of account number 6_ 0 8 5 $ UNKNOWN
Nonpriarity Creditors Name Wh the debti 4? 2023
en was the debt incurre
1722 SHERIDAN ST. #358, —
Number Street . oe
: tl .
HOLLYWOOD ~ FL 33432 As of the date you file, the claim is: Check all that apply.
City State ZIP Code ad Contingent
Wd Unliquidated
Who incurred the debt? Check one. i Disputed
df Debtor 1 only
Q) Debtor 2 only Type of NONPRIORITY unsecured claim:
L) Debtor 1 and Debtor 2 only QO) Student loans
C1 Atleast one of the debtors and another Q Obligations arising out of a separation agreement or divorce that
sean: a . you did not report as priority claims
Cl Check if this claim is for a community debt C2 Debts to pension or profit-sharing plans, and other similar debts
ls the claim subject to offset? WF other. Specify
Q1 No LITIGATION ALLEGING UNSPECIFIED AMOUNT.
a Yes
= a 6085 5_UNKNOWN |
HARMLESS PRODUCTS LLC Last 4 digits of accountnumber 0 UO OG oO.
Nonpriority Creditors Name 2022
When was the debt incurred?
2890 W BROWARD BLVD #B425, —
Number Street As of the date you file, the claim is: Check all that appl
FORT LAUDERDALE FL 33312 s yous Pp.
City State ZIP Code 4 Contingent

w Unliquidated
Ww Disputed

Type of NONPRIORITY unsecured claim:

C2 Student loans

C) obligations arising out of a separation agreement or divorce that
you did not report as priority claims

C2 Debts to pension or profit-sharing plans, and other similar debts
@ other. Specify.

OWNERSHIP LITIGATION REGARDING HARMLESS PRODUCTS,
LLC, FALSELY ALLEGING UNSPECIFIED AMOUNT OWED.

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Schedule E/F: Creditors Who Have Unsecured Claims

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Debtor 4

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CHAIM LEVILEV

First Name Middle Name Last Name

Case number (known) 6:24-bk-03843-LVV

Your NONPRIORITY Unsecured Claims — Continuation Page

After listing any entries on this page, number them’ beginning with 4.4, followed by 4.5, and:so forth.

Who incurred the debt? Check one.

ef Debtor 4 only

CU Debtor 2 only

C) Debtor 1 and Debtor 2 only

CJ At least one of the debtors and another

CJ] Check if this claim is for a community debt

Is the claim subject to offset?

No
O) Yes

(J unliquidated
id Disputed

Type of NONPRIORITY unsecured claim:

OQ) Student loans

QO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

UC) Debts to pension or profit-sharing plans, and other similar debts

@ other. Specify CREDIT CARD

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

- Total claim
0 igi 5 3 0 5
MISSION LANE LLC Last 4 digits of account number 9_ 9 OV $ 3,645.00
Nonpriority Creditor’s Name
P.O. BOX 105286 When was the debt incurred? 7/112019
WW, ; TT
Number Street . se
ATLANTA GA 30348 As of the date you file, the claim is: Check all that apply.
City State ZIP Code Q Contingent
. : C) Unliquidated
Who incurred the debt? Check one. & Disputed
Qf Debtor 1 only
C1 Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only . OQ] Student loans
At least one of the debtors and another C) Obligations arising out of a separation agreement or divorce that
Och if this claim is for it t you did not report as priority claims
eck | claim is for a community deb (J Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? & other. Specify, CREDIT CARD
a No
QO) Yes
5.1
DISCOVER FINANCIAL Last 4 digits of account number 8 4 8 4. ¢ 3,036.00
Nonpriority Creditors Name
PO BOX 3025 When was the debt incurred? 11/1/20
1
NEW ALBANY OH 43054 As of the date you file, the claim is: Check all that apply.
City State ZIP Code W Contingent
) Unliquidated
Who incurred the debt? Check one. 7 Disputed
Od Debtor 1 only
C] Debtor 2 only Type of NONPRIORITY unsecured claim:
() Debtor 1 and Debtor 2 only CG Student loans
C) At least one of the debtors and another (J Obligations arising out of a separation agreement or divorce that
sean: oo: . did not report as priority claims
Oc th you
heck if this claim is for a community debt L) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? @ Other. Specify CREDIT CARD
wf No
C) Yes
5.2 s_ 14,284.00
CHASE CARD SERVICES Last 4 digits of accountnumberO O 4 8
Nonpriority Creditors Name
PO. 15298 When was the debt incurred? 4/1/21
Ni
umber Sect As of the date you file, the claim is: Check ail that apply.
WILMINGTON DE 19850
City . State ZIP Code Q Contingent

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Debtor 1

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CHAIM LEVILEV

First Name Middle Name

Last Name

Case number (if known), 6:24-bk-03843-LVV ,

a NONPRIORITY Unsecured Claims — Continuation Page

Who incurred the debt? Check one.

Debtor 1 only

CY Debtor 2 only

(} Debtor 1 and Debtor 2 only

C) At least one of the debtors and another

(2 Check if this claim-is for a community debt

ts the claim subject to offset?

C} No
aw Yes

CREDIT ONE BANK Last 4 digits of account number 5_ Q- 9. 6. $ 1,802.00
Nonpriority Creditors Name 7/4/22 .
6801 CIMARRON RD When was the debt incurred? .
Numb: Street
LAS VEG AS NV 89113 As of the date you file, the.claim is: Check all that apply.
City State ZIP Code O) Contingent
. -- OC) Unliquidated
Who incurred the debt? Check one. ww Disputed
led Debtor 1 only
O debtor 2 only Type of NONPRIORITY unsecured claim:
a Debtor 1 and Debtor 2 only C Student loans
At least one of the debtors and another QQ Obligations arising out of a separation agreement or divorce that
<£ 4h ss . you did not report as priority claims
OQ Check if this claim is for a community debt
Q _Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? MH other. Specity_ CREDIT CARD
wf No
C) ves
5.4
SID ROBERTS Last 4 digits of accountnumber9_ 1 = 1 (OO g 100,000
Nonpriority Creditor's Name . > 2024
When was the debt incurred?
2 PRRAULI DRIVE ~~
ORT MOND BE ACH FL 32174 As of the date you file, the claim is: Check all that apply.
City State ZIP:Code O Contingent
. if Unliquidated
Who incurred the debt? Check one. Ww Disputed
Gd Debtor 1 only
C) Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only UO student loans
At least one of the debtors and another Q Obligations arising out of a separation agreement or divorce that
Cl] Check if this claim is for a community debt you did-not report as priority claims
O) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? @ other. Specity PERSONAL LOAN
C3 No
a Yes
55 | 3 13,124.3
YOSS! & SURIE LEVILEV Last 4 digits of account number Q- 1 1 0
Nonpriority Creditor’s Name 2023
When was the debt incurred?
4896 NW 67TH AVE ”
Number Street
file, the claim is: Check ail that .
LAUDERHILL . FL 33319 As of the date you file, the claim is: Check all that apply.
City State ZIP Code @ Contingent

Wf Unliquidated
uf Disputed

Type of NONPRIORITY unsecured. claim:

C) student loans

C) Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

C) Debts to pénsion or profit-sharing plans, and other similar debts
i other. Specify

DISPUTE REG, ALLEGED AMOUNT OWED BY ME FOR ACREDIT
CARD WHICH WAS USED BY HARMLESS PRODUCTS LLC

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

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LEVILEV Case number rire, :24-Dk-03843-LVV

Middle Nama Last Name

es All of Your NONPRIORITY Unsecured Claims

CHAIM

First Name

Debtor 1

3. Do any creditors have-nonpriority unsecured claims against you?
LI No. You have nothing to report in this part. Submit this form to the court with your other schedules.

Yes

4. List all of} your nonpriority unsecured claims i in. 1 the. alphabetical order of the creditor who: holds. each claim. Ifa creditor has more: ethen one -,

claims fill out the € Continuation’ Page of Part 2 2.

.=. “nonpriority unsecured claim; list the créditor separately: fo each claim. For each claim: fiste
‘ included in Part't; If more than-one creditor holds apa

HALIFAX HEALTH CARE SYSTEMS INC

Nonpricrity Creditors Name

Total,claim

e identify what type of.claim it is.. Do ‘not list: claims already |
ar claim, fist the other creditors i in VPart 3:lf you have ir more than- three Tonprionity u unsecured: .

Last 4 digits of account number 6 4 6 2

5 1,888.00

Who incurred the debt? Check one.

ad Debtor 1 only

2) Debtor 2 only

O) Debtor 4 and Debtor 2 only

CJ At least one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?
OC) No
id Yes

PO BOX 14099 © When was the debt incurred? 1/21/2024

Number Street

BELFAST ME 04915

City State ZIP Code As of the date you file, the claim is: Check all that apply.

Q) Contingent

Who incurred the debt? Check one. QO Unliquidated

4 Debtor 1 only w Disputed

CJ Debtor 2 only

CQ) Debtor 4 and Debtor 2 only Type of NONPRIORITY unsecured claim:

C2 At least one of the debtors and another QC) Student loans

UO Check if this claim is for a community debt Q Obligations arising out of a separation agreement or divorce

that you did not report ag priority claims

Is the claim subject to offset? (J Debts to pension or profit-sharing plans, and other similar debts

C) No @ other. Specify HEALTH & MEDICAL DEBTS

Yes

. acme}
5.7| U.S. ANESTHESIA PARTNERS Last 4 digits of account number 2 4 8 7 $ 9/472
| Nonpriority Creditor's Name When was the debt incurred? 1/28/2024

PO BOX 8757
Number Street

CORAL SPRINGS FL 33075 As of the date you file, the claim is: Check all that apply.
City State ZIP Code G Contin gent
Who incurred the debt? Check one. U Unliquidated

2 Debtor 1 only W Disputed

CQ) Debtor 2 ont

C3 vebtor 1 a nt Debtor 2 only Type of NONPRIORITY unsecured claim:

(C) At least one of the debtors and another C] Student toans

dp gue oe . C) Obligations arising out of a separation agreement or divorce

(J Check if this claim is for a community debt that you did not report as priority claims

Is the claim subject to offset? () Debts to pension or profit-sharing plans, and other similar debts

O) No @ other. Specify HEALTH & MEDICAL DEBTS

d Yes

5.8| ALLIANCEONE DEBT COLLECTOR Last 4 digits of account number 9 3 1.9 5 48.78
Nonpriority Creditors Name . 2/4 /202 A on
When was the debt incurred?

3043 WALTON ROAD TT
Number Street

PLYMOUTH MEETING -__PA 19462 As of the date you file, the claim is: Check all that apply.
City State ZIP Code

OU Contingent
C) unliquidated
uw Disputed

Type of NONPRIORITY unsecured claim:

C2 Student loans

Q) Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
(2 Debts to pension or profit-sharing plans, and other similar debts

W@W other. Specify_ HEALTH & MEDICAL DEBTS

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims page__of_

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ey
Debtor 1 CHAIM

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LEVILEV

First Name Middie Name Last Name

Case number (if known), 6:24-bk-03843-LVV .

co Your NONPRIORITY Unsecured Claims — Continuation Page

After listing any entries ‘on this page, number them beginning with 4.4, followed by 4.5, and:so forth. .

Who incurred the debt? Check one.

UJ Debtor 4 only

(3 Debtor 2 only

(2 Debtor 4 and Debtor 2 only

C] At least one of the debtors and another

O) Check if this claim is for a community debt

Is the claim subject to offset?

C] No
C) Yes

5.9
PETER J. SNYDER PA Last 4 digits of account number 9 1 1. O_ $ 60,000.00
Nonpriority Creditors Name 2023
Wh i
301 CRAWFORD BLVD., SUITE 100 en was the debt incurred? ST ____.
Number Street As of the date you file, the claim is: Check all that
BOCA RATON FL 33432 you file at app.
City : State ZIP Code 2) Contingent
QO) unliquidated
Who incurred the debt? Check one. O) Disputed
ed Debtor 4 only
CU) Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only O] Student loans
At least one of the debtors and another Q Obligations arising out of a separation agreement or divorce that
C) Check if this claim is for a community debt you did not report as priority claims _.
C2 Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? @ other. Specify LEGAL FEES
a No
O) Yes
6.0
UPSTART SMB/CRB: Last 4 digits of account number 29 4 6. ¢ 49,492.00
Nonpriority Creditor’s. Name Wh the debt i 4 2023
en was the debt incurred?
P.O. BOX 1503
Number Street
. As of the date you file, the claim is: Check all that apply.
SAN CARLOS CA 94070 y ply
City State ZIP Code dW Contingent
od Unliquidated
Who incurred the debt? Check one. 2 Disputed
Wf Debtor 1 only
Q) Debtor 2 only Type of NONPRIORITY unsecured claim:
C) Debtor 1 and Debtor 2 only C3 Student loans
C1 Atleast one of the debtors and another Q Obligations arising out of a separation agreement or divorce that
“eth: we . you did not report as priority claims
k |
U1 Check if this claim is for a community debt C2 Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? @f other. Specify BUSINESS LOAN
C) No
a Yes
oe $
Last 4 digits of account number
Nonpriority Creditors Name
When was the debt incurred?
Number Street As of the date you file, the claim is: Check all that apply.
City State ZIP Cade CQ contingent

Q Unliquidated
() Disputed

Type of NONPRIORITY unsecured claim:

Q Student loans

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

(2 Debts to pension or profit-sharing plans, and other similar debts
C) Other. Specify.

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

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Debtor 1 CHAIM LEVI

6:24-bk-03843-LVV hg

Case number (it known)

First Name Middle Name

Last Name

ey Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For --
example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.
MARKO F. CERENKO On which entry in Part 1 or Part 2 did you list the original creditor?
Name
201 S BISCAYNE BLVD Line 4.5 of (Check one): UL) Part 1: Creditors with Priority Unsecured Claims
Number Street @ Part 2: Creditors with Nonpriority Unsecured Claims
SUITE 2700
MIAMI FL 33131 Last 4 digits of account number 8_ 3 Tt A
City State ZIP Code
DAVID BERENTHAL On which entry in Part 1 or Part 2 did you list the original creditor?
Name
45 EAST 72ND STREET Line 4749 of (Check one): OQ) Part 1: Creditors with Priority Unsecured Claims
Number Street @f Part 2: Creditors with Nonpriority Unsecured
i SUITE 5C Claims
NEW YORK NY 10021 Last 4 digits of account number 6_ 0 8 5
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line___ of (Check one): O Part 1: Creditors with Priority Unsecured Claims
Number Street C) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of accountnumber_
City State ZIP Code
i On which entry in Part 1 or Part 2 did you list the original creditor?
i Name
: Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
1
Number Street Q) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of accountnumber_
City State ZIP Code
' On which entry in Part 1 or Part 2 did you list the original creditor?
: Name
! Line of (Check one): U Part 1: Creditors with Priority Unsecured Claims
Number Street QO Part 2: Creditors with Nonpriority Unsecured
Claims
{
Last 4 digits of accountnumber_
City State ZIP Code
On which entry in Part 1 or Part 2 did you list the original creditor?
; Name :
Line of (Check one): Part 1: Creditors with Priority Unsecured Claims
Number Street Q) Part 2: Creditors with Nonpriority Unsecured
Claims
Last 4 digits of account number_
City State ZIP Code
N On which entry in Part 1 or Part 2 did you list the original creditor?
ame
| Line of (Check one): O) Part 1: Creditors with Priority Unsecured Claims
! Number Street . . 4
U Part 2: Creditors with Nonpriority Unsecured
Claims
{
| a
City Sate TIP Code Last 4 digits of account number

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims page __ of

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pebtort  CHAIM LEVILEV Case number yrinoun6:24-Dk-03843-LVV

First Name Middle Name Last Name >

Add the Amounts for Each Type of Unsecured Claim

a

oy

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

Total claims 6a. Domestic support obligations 6a. $ 0.00
from Part 1 . 6b. Taxes and certain other debts you owe the
government 6b. $ 30,000.00
6c. Claims for death or personal injury while you were
intoxicated 6c. $ 0.00
6d. Other. Add all other priority unsecured claims.
Write that amount here. 6d. 4 $ 0.00
6e. Total. Add lines 6a through 6d. 6e.
S 5 30,000.00
Total claim ~
T otal claims 6f. Student loans 6f. $ 0.00
from Part 2’ 4. Obligations arising out of a separation agreement
, or divorce that you did not report as priority 0.00
claims . , 6g. $ :
6h. Debts to pension or profit-sharing plans, and other
similar debts 6h. $ 0.00
6i. Other. Add all other nonpriority unsecured claims. .
Write that amount here. Gi. +s 346,235.23

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page. of_
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Re: Chaim Levilev Case Number: 6:24-bk-03843-LVV

Overflow - Schedule E/F:
Creditors Who Have Unsecured Claims

Part 2:
4.5 | ANDREWS PLAZA, LLC

Other Specific information...

IN 2022, WHEN | BEGAN FACING SEVERE FINANCIAL DIFFICULTIES IT CAME TO THE POINT
THAT | COULDN'T AFFORD TO PAY RENT. MAINLY BECAUSE | STILL WASN'T PAID FOR MY
50% SHARE IN HARMLESS PRODUCTS, LLC, HAD NO INCOME, AND WAS FORCED TO
SPEND ALL MY MONEY ON LEGAL FEES DUE TO ONGOING LITIGATION WITH HARMLESS
PRODUCTS, LLC, AND (FORMER BUSINESS PARTNER) NOSSEN LEVILEV FOR THE
ONGOING LITIGATION WHICH WAS SUPPOSED TO BE RESOLVED IN 2021-22 AFTER THEY
FILED AN IRREVOCABLE ELECTION TO PURCHASE MY 50% SHARE.

| EXPLAINED MY SITUATION TO THE LANDLORD, WHO SHOWED UNDERSTANDING AND

AGREED TO ACCEPT A FINAL PAYMENT OF $6,390.00, TO BE PAID IN FOUR INSTALLMENTS.

HE SAID HIS ATTORNEY WOULD PREPARE AN AGREEMENT DOCUMENT WITHIN A FEW
DAYS. AND DESPITE FOLLOWING UP SEVERAL TIMES, | RECEIVED NO RESPONSE.

OVER THE NEXT FEW MONTHS, |! FACED MORE FINANCIAL CHALLENGES AND HAD TO
MOVE FROM BOCA RATON DUE TO UNAFFORDABLE LIVING COSTS AND TO GET HELP
FROM FAMILY.

THEN EIGHT MONTHS LATER, WITHOUT MY KNOWLEDGE, THE LANDLORD’S ATTORNEY
IGNORED OUR AGREEMENT AND UNLAWFULLY OBTAINED A JUDGMENT AGAINST ME. |
WAS NOT INFORMED ABOUT ANY CASE HEARINGS OR HIS DECISION TO LITIGATE UNTIL
JANUARY 2024 WHEN | RECEIVED A NOTICE FROM CHASE THAT MY ACCOUNT HAD BEEN
GARNISHED.

Overflow - Schedule E/F: Creditors Who Have Unsecured Claims Page 1 of 1

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Case 6:24-bk-03843-LVV Doc13 Filed 08/14/24 Page 35 of 61

Tam Celelelaure ete meme Tn Utama Zell | mor: oe

pestr?  CHAIM LEVILEV

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Middle District of Florida
Case number 6:24-bk-03843-LVV

(If known)

Official Form 106]

Schedule I: Your Income

Check if this is:

(An amended filing

J A supplement showing postpetition chapter 13
income as of the following date:

MM / DD/ YYYY
12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for

supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.

If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

ae Describe Employment

1. Fill in your employment - Ot
information. : _ ‘Debtor.1

Debtor 2. or non-filing spouse

If you have more than one job,

attach a separate page with
i formation about ye stional Employment status Q) Employed Q Employed
employers. : i Not employed © Not employed
Include part-time, seasonal, or . NON-FILING SPQUSE
self-employed work. SEASONAL ONLINE SALES HOMEMAKER
. . Occupation
Occupation may include student
or homemaker, if it applies.
Employer's name PARTIALLY SELF-EMPLOYED HOMEMAKER
Employer's address 2 FERNMEADOW LN 2 FERNMEADOW LN

Number Street

Number Street

ORMOND BEACH, FL 32174 ORMOND BEACH, FL 32174

How long employed there? 2 YEARS

ere sive Details About Monthly Income

City State ZIP Code City State ZIP Code

3 YEARS

spouse unless you are separated.

below. If you need.more space, attach a separate sheet to this form.

|

 ForBebior’) “For Bebtor2 or

Estimate monthly income as of the date you file this form. if you have nothing to report for any line, write $0 in the space. Include your non-filing

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines

_non-filing spouse:

2. List monthly gross wages, salary, and commissions (before ail payrolf

deductions). If not paid monthly, calculate what the monthly wage would be. 2. $ 0.00 $ 0.00
3. Estimate and Jist monthly overtime pay. 3. +3 0.00 + $ 0.00
4. Calculate gross income. Add line 2 + line 3. 4,1 $ 0.00 $ 0.00

Official Form 1061 Schedule |: Your Income

page 1
Case 6:24-bk-03843-LVV Doc13_ Filed 08/14/24 Page 36 of 61 4,
pebtor1  CHAIM LEVILEV Case number grinom 8:24-Dk-03843-LVV
First Name Middle Name Last Name
For Debtor 1 . -For Debtor 2or °
peewee, .  hon-filing spouse —
Copy line 4 Were .......c.ccececcccccsscssecsessscsccsucecsessessevsessesssstsucsarsesutsscssneresaesecseesaes >4 ¢§ 0.00 $ 0.00
5. List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions 5a. § 0.00 $ 0.00
5b. Mandatory contributions for retirement plans 5b. $ 0.00 $ 0.00
5c. Voluntary contributions for retirement plans 5c. § 0.00 $ 0.00
5d. Required repayments of retirement fund loans Sd. §$ 0.00 $ 0.00
5e. Insurance 5e. $ 0.00 $ 0.00
5f. Domestic support obligations a §§. 0.00 $ 0.00
5g. Union dues 5g. $ 0.00 §. 0.00
5h. Other deductions. Specify: 5h. +§ 0.00 +¢ 0.00
6. Add the payroll deductions. Add lines 5a + 5b+5c+5d+5etSf+5g+5h. 6 § 0.00 $ 0.00
7. Calculate total monthly take-home pay. Subtract line 6 from line 4. 7. § 0.00 $ 0.00
8. List all other income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total 5 0.00 3 0.00
monthly net income. / 8a.
8b. Interest and dividends 8b. 5 0.00 $ 0.00
8c. Family support payments that you, a non-filing spouse, or a dependent
regularly receive
Include alimony, spousal support, child support, maintenance, divorce $ 0.00 $ 0.00
settlement, and property settiement. 8c.
8d. Unemployment compensation 8d = §$ 0.00 $ 0.00
8e, Social Security 8e. § 0.00 $ 0.00
8f. Other government assistance that you regularly receive
Include cash assistance and the value (if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies,
Specify: Bf. 86 § 0.00 § 0.00
i i i 0.00 0.00
Ce een eT ATLL °
8h. Other monthly income. Specify: _ FRIENDS TO HELP PAY LIVING EXPENSES. 8h. +$ 3,500.00 + 0.00
9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + Bh. 9. | ¢ 3,500.00 $ 0.00
10. Calculate monthly income. Add line 7 + line 9. 50 0.00 3.500
Add the entries in fine 10 for Debtor 1 and Debtor 2 or non-filing spouse. 10. $_3,500.00}+} g¢ 0.00 §__3,500.00
11. State all other regular contributions to the expenses that you list in Schedule J.
Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify: WW. § 0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. 3500.00
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies 12. seas
Combined

13.Do you expect an increase or decrease within the year after you file this form?

Wi No.

monthly income

QQ Yes. Explain:

Official Form 1061 Schedule I: Your Income

Perce tacos

“n

Case 6:24-bk-03843-LVV Doc 13 Filed 08/14/24 Page 37 of 61 “

Tam LicMabcoletitctetolnmcoMle(-Tel dh aVmIZere] ater-[1-

CHAIM LEVILEV

Debtor 1 First Name Middle Name Last Name Check if this is:
Debtor 2 .
(Spouse, if filing) First Name Middle Name Last Name U An amended filing

/ , LJ A supplement showing postpetition chapter 13
United States Bankruptcy Court for the: Middle District of Florida expenses as of the following date:
Case number 6:24-bk-03843-LVV MM 7 DD? YYYY
(If known)

Official Form 106J
Schedule J: Your Expenses 12115

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

; ue Describe Your Household

eI

1. Is this a joint case?

No. Gotoline 2.
LJ Yes. Does Debtor 2 live in a separate household?

OD No
CI] Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents? OO No _, : .
: Dependent’s relationship to Dependent’s Does dependent live
‘Do not list Debtor 1 and © Yes. Fill out this information for Debtor 1 or Debtor 2 age __ With you?
Debtor 2. each dependent... O
i N
Do not state the dependents’ CHILD 9 MONTHS ga ve
‘names. : es
CHILD 2 ~ ONo
wu Yes
CHILD 3 No
4 Yes
_ UI No
Yes
LI No
C) Yes
-3. Do your expenses include UW No

expenses of people other than
___ yourself and your dependents? CI Yes

CERES Estimate Your Ongoing Monthly Expenses

’ Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
* expenses as of a date after the bankruptcy Is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
' applicable date.

: Include expenses paid for with non-cash government assistance if you know the value of

: such assistance and have included it on Schedule I: Your Income (Official Form 1061.) , Your expenses: -
4. The rental or home ownership expenses for your residence. Include first mortgage payments and § 3 500.00
any rent for the ground or lot. 4. ,

If not included in line 4:

4a. Real estate taxes : 4a. § 0.00
4b. Property, homeowner's, or renter’s insurance : 4b. § 0.00
4c. Home maintenance, repair, and upkeep expenses 4. § 0.00
4d. Homeowner's association or condominium dues 4d. $ 0.00

eet ee aoe en en nt ee tee tee ne te cea te

Official Form 106J Schedule J: Your Expenses page 1
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Debtor1  CHAIM LEVILEV

16.

“48,

49.

20.

20e. Homeowner's association or condominium dues

First Name Middle Name Last Name

Additional mortgage payments for your residence, such as home equity loans

. Utilities:

6a. Electricity, heat, natural gas
6b. Water, sewer, garbage collection
6c. ‘Telephone, cell phone, Intemet, satellite, and cable services

6d. Other. Specify:

Food and housekeeping supplies

. Childcare and children’s education costs

. Clothing, laundry, and dry cleaning

Personal care products and services
Medical and dental expenses

Transportation. Include gas, maintenance, bus or train fare.
Do not include car payments.

Entertainment, clubs, recreation, newspapers, magazines, and books

Charitable contributions and religious donations

. Insurance.

Do not include insurance deducted from your pay or included in lines 4 or 20.

15a. Life insurance
15b. Health insurance
15c. Vehicle insurance

15d. Other insurance. Specify:

Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
Specify:

. Installment or lease payments:

17a. Car payments for Vehicle 1
17b. Car payments for Vehicle 2
17c, Other. Specify:

17d. Other. Specify:

uA

Case number (if known), 6:24-bk-03843-LVV

15a.
15b.
156.

15d.

16.

17a.

17b.

17c.

17d.

Your payments of alimony, maintenance, and support that you did not report as deducted from

your pay on line 5, Schedule I, Your Income (Official Form 106l).

Other payments you make to support others who do not live with you.
Specify:

18.

19.

Other real property expenses not inciuded in lines 4 or 5 of this form or on Schedule I: Your Income.

20a. Mortgages on other property
20b. Real estate taxes
20c. Property, homeowner's, or renter’s insurance

20d. Maintenance, repair, and upkeep expenses

Official Form 106J Schedule J: Your Expenses

Your expenses

“

$

0.00

500.00

110.00

0.00

700.00

1,900.00

80.00

40.00

AA fA Ff fH FHF Ff fF

300.00

300.00

20.00

180.00

0.00

500.00

600.00

PAA PH Lf

0.00

0.00

1,150.00

0.00

0.00

A Ff#h FA

0.00

0.00

0.00

0.00

0.00

0.00

0.00

Par A fH fH fA

0.00

page 2
Case 6:24-bk-03843-LVV Doc13 Filed 08/14/24 Page 39 of 61

Debtor 1 CHAI M LEVI LEV Case number (known) 6 724-bk-03843- LVV
First Name Middle Name Last Name
i241. Other. Specify: 21. +5 0.00
22, Calculate your monthly expenses.
22a. Add lines 4 through 21. 22a. | ¢ 10,120.00
'22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22b. | § 0.00
22c. Add line 22a and 22b. The result is your monthly expenses. 22c. | g 10,120.00

23, Calculate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule I. 23a. § 3,500.00
23b. Copy your monthly expenses from line 22c above. 23b. ¢ 10,120.00
23c. Subtract your monthly expenses from your monthly income.
yo ¥ Expenses Irom your y 5 - 6,620.00
The result is your monthly net income. 23c.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

WY No.
OQ) Yes. | Explain here:

Official Form 106J : Schedule J: Your Expenses
a a 2 Re cree

Case 6:24-bk-03843-LVV Doc13 Filed 08/14/24 Page 40 of 61

MLM Macey earelicey em coMCo(-Valii aan ell] mer: [to

Debtor 4 Chaim Levilev

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Middle District of Florida
Case number _§:24-bk-03843-1VV

(If known)

C} Check if this is an
amended filing

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 12415

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

a Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

@ No

: CY Yes. Name of person . Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
| Signature (Official Form 119).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and
that they are true and correct.

7
x UZ x
Si e of Debtor ~ Signature of Debtor 2
Date x LS ZY Date
MM#-DD 7 YYYY MM/ DD / YYYY

Official Form 106Dec Declaration About an Individual Debtor’s Schedules

Case 6:24-bk-03843-LVV Doc 13 _ Filed 08/14/24

MTR Ulicm itcesdiLelolamcem (e(-Tal tia amize leaker: tct-0

6:24-bk-03843-LVV

Case number

United States Bankruptcy Court for the: Middle District of Florida

Debtor1 Chaim Levilev -
First Name Middle Name Last Name

Debtor 2

(Spouse, if filing) First Name Middle Name Last Name

(If known)

Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy

Page 41 of 61

Q) Check if this is an
‘amended filing

04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case

number (if known). Answer every question.

' fa Give Details About Your Marital Status and Where You Lived Before

1. What is your current marital status?

4 Married
CJ Not married

LI No

( bebtor ti

! 314 E BOCA RATON RD

2. During the last 3 years, have you lived anywhere other than where you live now?

© Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

"©. Dates Debtor 1. Debtor 2:22.”

: 3, “fived there

UO) same as Debtor 1

o ‘Dates Debtor 2
lived there.

UO) same as Debtor 4

- From 2020 From
Number Street To 2022 Number Street To
BOCA RATON FL 33432
City State ZIP Code City State ZIP Code
CJ same as Debtor 1 U same as Debtor 1
191 NW EMERSON PLACE From 2022 From
Number Street Number Street
To 2023 To

BOCA RATON FL 33432

City State ZIP Code

YW No

State ZIP Code

City

C] Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
i States and territories include Arizona, California, |daho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

Explain the Sources of Your Income

Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy
Case 6:24-bk-03843-LVV Doc13 Filed 08/14/24 Page 42 of 61

pebtor1 Chaim Levilev 6:24-bk-03843-LVV

First Name Middle Name Last Name

Case number (if known),

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

WH No

QJ Yes. Fill in the details.

Veco so waa

Sources: of income “Gross income . °.’ . . Sources ofincome - Gross income -
Check althat apply. - (before deductions and = Check all that apply. "(before deductions and
ce : exciusions)- “exclusions)
From January 4 of current year until O) Wages, commissions, $ Q Wages, commissions, $
the date you filed for bankruptcy: bonuses, tips TO bonuses, tips
. C) Operating a business ] Operating a business
For last calendar year: U) Wages, commissions, C Wages, commissions,
. bonuses, tips $ bonuses, tips $
(January 1 to December 31, 2023 _) Q Operating a business i Operating a business
For the calendar year before that: Q Wages, commissions, O Wages, commissions,
. ° bonuses, tips $ bonuses, tips $
(January 1 to December 31, 2022 ) () Operatinga business ~~~ _ (2) operating a business

_ 5. Did you receive any other income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

ve
Yes. Fill in the details.

wen tee

Sources of income . > “Gross income from

Sources of income _ _- Gross income from: -”
' Describe below. each SOURCE! oe Describe-below. . , each source
Pact oe . + (before deductions-and’y soe. -  . ° (before deductions and 4
-exclusions) * EES “ : _ *-€xelusions): . !
From January 1 of current year until $00 .FRODUGTS ONE § 23,614.00
the date you filed for bankruptcy:
For last calendar year: BORROWED MONEY $ 50,000.00

(January 1 to December 31, 2023

For the calendar year before that:  fasuuagmessenopucte ie. §. 90,000.00 $

(January 1 to December 31, 2022
YYYY

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 2
Debtor 1

Case 6:24-bk-03843-LVV Doc13 Filed 08/14/24 Page 43 of 61

Chaim

Levilev

First Name

Middie Name

~“

Case number (if known) 6:24-bk-03843-LVV

Last Name

List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

i No. Neither Debtor 4 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

: J No. Go to line 7.

C} Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as

child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

LJ Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

L) No. Go to line 7.

Q) Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

ae Amount you still owe

’ Was this payment for...

$ $ C] Mortgage
Creditors Name
Qi Car
Number Street L) Credit card
UI Loan repayment
Q Suppliers or vendors
City State ZIP Code CY other
§ $ YY) Mortgage
Creditors Name
C2 car
Number Street CI) credit card
) Loan repayment
QO Suppliers or vendors
City State ZIP Code C1 other
$ $ Q Mortgage
Creditor’s Name
Q) Car
Number Street C) Credit card
Q) Loan repayment
Q Suppliers or vendors
City State ZIP Code CI other

Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy

page 3
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Debtor 1 Chaim

Levilev

First Name

Last Name

Case number (if known)

6:24-bk-03843-LVV

' 7. Within 4 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?

Y No

: Q) Yes. List all payments to an insider.

2 Dates of. Total amount |

insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;

corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. include payments for domestic support obligations,
such as child support and alimony.

} City

| 8, Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited

an insider?

i WNo

Include payments on debts guaranteed or cosigned by an insider.

C) Yes. List all payments that benefited an insider.

é . ‘Amount you still “Reason for this payment
_- Payment © paid “~ "owe : -

$ $

Insider's Name

Number Street

City State ZIP Code
$ $

Insider's Name

Number Street

é
State ZIP Code

“Dats of fog : Total amount a3 -Amount you still. . Reason for this payment a

~ Payment. = paid), ss OWE" Include creditor’s name
$ $
Insider's Name
Number Street
City State ZIP Code
$ $
Insider's Name
Number Street
_Lity State ZIP Code

Official Form 107

Statement of Financial Affairs for individuals Filing for Bankruptcy

page 4

t
Case 6:24-bk-03843-LVV Doc13 Filed 08/14/24 Page 45 of 61

Case number (ifknown) 6:24-bk-03843-LVV

Debtor 1 Chaim Levilev
First Name Middie Name Last Name
clea identify Legal Actions, Repossessions, and Foreclosures

}

and contract disputes.

(] No
U Yes. Fill in the details.

Nature, of the case we

- Court or: agency

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,

- © Status of the case :

| CONTRACT AND | egy TNAND FOR THESmVENTEENTH ADO,
Case title CHAIM LEVILEV, ETALPLAINTIFF_| INDEBTEDNESS Sout Name td Pending
i VS. NOSSEN LEVILEV, ET AL DEFENDANT
| 201 SE 6th Street U1 on appea
: Number Street O Concluded
Case number CACE21016085 FortLauderdale FL 33301
i City State ZIP Code
ere ne ea an aerate .
REMOVAL OF TENANT | SRCUTOME OS RSRRTERTNRSES.
; Case title_ ANDREWS PLAZA LLC PLAINTIFE | NON-RESIDENTIAL FOR  |Gourtname ad Pending
. CHAIM LEVILE NDANT
VS, CHAIMLEVILEV ETALDEFENDANT] UNABLE TO PAYRENT | 0 ce gin Giract 0 on appeal
Number Street Q) Concluded
Case number CACE23018371 FortLauderdale FL 39301
{ City State ZIP Code

Check all that apply and fill in the details below.

U) No. Go to line 11.
@ Yes. Fill in the information below.

“y Date |

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?

Q Property was attached, seized, or levied.

: t Describe’ the: e property. * Value of the property

CHASE BANK ACCOUNT
' ANDREWS PLAZA, LLC 01/31/2024 ¢ =-52,781.40

Creditors Name

201 SOUTH BISCAYNE BLVD oe

Number Street Explain what appened

STE 2700 Q Property was repossessed.

() Property was foreclosed.

MIAMI FL 33131 Property was garnished.

City State ZIP Code CJ Property was attached, seized, or r levied.
4 ‘Describe the property : : : . . Date . ~ Nalue of the e property
VEHICLE
| BMW FINANCIAL SERVICES tonie/2028  ¢__ 63,768.00
| Creditors Name
PO BOX 3608
: Number Street — Te
\ ~Explain what happened
wi Property was repossessed.
i foreclosed.
DUBLIN OH 43016 4 ee eed
City . State ZIP Code Property was gamished.

Official Form 107

Statement of Financial Affairs for individuals Filing for Bankruptcy

page 5

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Debtor1 Chaim Levilev Case number ¢rinom,©:24-Dk-03843-LVV

First Name -Middie Name Last Name

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
| accounts or refuse to make a payment because you owed a debt?
Y no
}

J Yes. Fill in the details.

Describe'the action the creditor took oe a Date action Amount |
on tg . . . : was taken - .
i Creditors Name | Ss
i
; $
} Number Street
4
i
City State ZIP Code Last 4 digits of account number: XXXX~.

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

Wf No
UL} Yes

Ee List Certain Gifts and Contributions
i

13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

W No
LI Yes. Fill in the details for each gift.

_ Gifts with a total value of more than $600 Describe the gifts : . s - : “Dates yougave’  —- Value
' per person *- . wn pre Fos ° ~~ the gifts .

Person to Whom You Gave the Gift

Number Street

City State ZIP Code

Person's relationship to you

Gifts with a total value of more than $600 "Describe the gifts
per person . . te as :

8 ‘ - Dates you gave : Value
-: the gifts

Person to Wham You Gave the Gift

Number Street

City State ZIP Code

Person's relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6
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Debtor 1 Chaim Levilev Case number (riown 0 -24-DK-03843-LVV

First Name Middle Name Last Name

| 14, Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
g
; ONo

1 Yes. Fill in the details for each gift or contribution.

Dateyou °°” * Value
contributed :

-Gifts or contributions to.charities © —-——-— Describe what you contributed
” that total morethan $600. - I

CASH TITHING FOR MY SYNAGOGUE
CHABAD ; 5,000

Charity’s Name

Number Street

City State ZIP Code

Eo List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambling? -

W No
C] Yes. Fill in the details,

Describe: the property you ‘lost and. uF Describe any ‘instrance coverage for the toss” oS, - . Date of your -- . Value of property

how the loss occurred ue loss : =) fost
: . Include the: amount that i insurance has paid. List pending insurance a

claims ¢ on fine 33 of Schedule A/B: Property. Loughe tet

pi Oo

|
List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

CI No
Yes. Fill in the details.

: Deseription:and valie of any propérty transferred. es Date payment or. ; Amount of payment
BRANSON LAW : pee ‘ co a ER transfer was” ° :
Person Who Was Paid She : sa made
BRANSON LAW FIRM INITIALLY AGREED TO PROVIDE LEGAL .
1501 EAST CONCORD ST ADVICE TO HELP PREPARE AND FILE MY BANKRUPTCY 6/17/2024 338 00
Number Street PETITION AND ACCEPT A SMALLER RETAINER FEE OF $1000 $ . .

BECAUSE OF MY FINANCIAL HARDSHIP. IN ADDITION TO
CHARGING ME THE $338 FILLING FEE.

BUT ONLY AFTER | SENT THE INITIAL PAYMENTS DID THE
ORLANDO FL 32803 ATTORNEY REFUSE TO WORK ON MY CASE OR FILE
UNLESS | PAID AN ADDITIONAL $5,000+ WHICH WAS NOT

6/19/2024 g 1,000.00

City State ZIP Code WHAT WE INITIALLY AGREED. SINCE | DID NOT HAVE THE
MONEY AND WAS UNABLE TO PAY THE ADDITIONAL $5,000, |
www.bransonlaw.com ASKED THEM TO REFUND THE $1,000 AND $338 AND THEY
Email or website address NEVER RESPONDED SO BANK OF AMERICA DISPUTED THE
CHARGES AND REFUNDED MY ACCOUNT ON 7/15/2024
Person Who Made the Payment, if Not You BRANSON LAW IS NOT ASSISTING ME OR FILLING FOR ME.

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7

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Debtor 4 Chaim Levilev Case number (known) 6:24-bk-03843-LVV

First Name Middle Name Last Name

Date payment or. . _ Amount of

Description and: value of any property transferred ’
: : . Lo ’ transferwas made payment -

Person Who Was Paid

Number Street

City State ZIP Code

Email or website address

Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

UW No

CL] Yes. Fill in the details.

Description:and value of any property.transferred : Date payment or . Amount of payment
we ah . cB __ transfer was
“2 made
Person Who Was Paid
Number Street §
$
City State ZIP Code

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
Include both outright transfers and transfers made as security (such as the granting of a ‘security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement.

© no

Q) Yes. Fill in the details.

' Desc ipti i Describe any. property: or payments received : Date'transfer
transferred __ nF . - or debts paid in exchange . ** Was made-

Person Who Received Transfer

Number Street

City State ZIP Code

Person's relationship to you

Person Who Received Transfer

Number Street

City State ZIP Code

t
y
I
| Person's relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 8

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Debtor. Chaim Levilev Case number (rinewn_6:24-Dk-03843-LVV

First Name Middle Name Last Name

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.) .

Wi No
LJ Yes. Fill in the details.

Description and value of the property transferred we ans we, Date transfer .
. bw, : tee Loin ' : me Us was made.

Name of trust

\

arr List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

W No

CJ Yes. Fill in the details.

Last.4 digits of account number Type ofaccountor ~. Date accountwas © _ Last balance before
we os ne * instrument... : - : “elosed, sold, moved, closing or transfer.

wee . “ortransferred
Name of Financial Institution
XXXX- CY checking $
Number Street Q Savings
QO Money market
t] Brokerage
City State ZIP Code O Other
XXXX— Cd checking $
Name of Financiat Institution
O Savings
Number Street QO Money market
O] Brokerage
Cd other

City State ZIP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?

w@ No .
C) Yes. Fill in the details.

Who-else-had access. to it?: Bee, Describe the contents. mes : Doyau still
OME TRA oe ee have it?»
CO) No
Name of Financial institution Name U) Yes
Number Street : Number Treat
City State ZIP Code
City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy : page 9

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3 4
Debtor 1 Chaim Levilev Case number (itknown) 6:24-bk-03843-LVV
First Name Middle Name Last Name
22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
W No
Cl Yes. Fill in the details. a a oe
Whoelse has orhad access toit?, ~~‘ Describe the contents Do you still :
oe oo . aoe have it?::” i
OC) No i
~ Name of Storage Facility Name O ves 1
!
Number Street Number Street
|
City State ZIP Code
City State ZIP Code ence cena sees cermin lasnnmrwnrenned
EEE tontity Property You Hold or Control for Someone Else
23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
or hold in trust for someone. :
wy No
C] Yes. Fill in the details.
Where isithe property? o me , os Describethe property Value |
Owner's Name $ i
t
Number Street {
Number Street i
City State ZIP Code :
City State ZIP Code
Ex Give Details About Environmental Information |
|
For the purpose of Part 10, the following definitions apply: \
| 2 Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of i
hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, :
including statutes or regulations controlling the cleanup of these substances, wastes, or material. i
Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites: i
{ & Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
( substance, hazardous material, pollutant, contaminant, or similar term. ;
Report ail notices, releases, and proceedings that you know about, regardless of when they occurred. \
i 24.Has any governmental unit notified you that you may be liable or potentially tiable under or in violation of an environmental law?
}
i
: a No
C) Yes. Fill in the details.
Governmental unit * Environmental law, if you know it." .-_Dateofnotice |
§
j Name of site Governmental unit
(
Number Street Number Street
j
City State ZIP Code i
{ City State ZIP Code
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 10
}

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Chaim

Debtor 1

Levilev

First Name ‘Middle Name

Last Name

25. Have you notified any governmental unit of any release of hazardous material?

@ No

C] Yes. Fillin the details.

Governme tal unit YS

Environmental law)if you know it

Case number (irknown) 6:24-bk-03843-LVV

Name of site

Number Street

Governmental unit

Number Street

City State ZIP Code

City State ZIP Code

"| Date of notice’

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

W No

L} Yes. Fill in the details.

Case title

Case number

- Court of agency ‘Nature of the case _ . Status of the
Cea ee = inet whe tet teen Seana case
| .
Court Name i O Pending
i 1
j | Cl on appeal
Number Street C2 concluded
City State ZIP Code

Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
W Asole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
aw A member of a limited liability company (LLC) or limited liability partnership (LLP)

QA partner in a partnership

J An officer, director, or managing executive of a corporation

() An owner of at least 5% of the voting or equity securities of a corporation

CI} No. None of the above applies. Go to Part 12.
W Yes. Check all that apply above and fill i in the details below for each business.

HARMLESS PRODUCTS LLC

Business Name

2890 WEST BROWARD BOULEVARD

Number Street

: _ Deseribe the nature @ of the business :

HEALTH & WELLNESS PRODUCTS

° Name’of.accountant or bookkeeper

"Employer identifi cation ‘number —

Do not. include Sociat Security | number or ITIN.

810 9 8 8 4 2 0

EIN:

- Dates business existed ’ LF

#B425
KATZ IATES, PA
FORTLAUDERDALE FL 33312 & ASSOC From 2016 To CURRENT
_Gity State ZIP Code

GCB HEALTH LLC

Business Name

621 NW 53RD STREET

Number Street

240
BOCARATON FL __ 33487
City State ZIP Code

Describe the nature of the business: vo

~ Employer identifi ation number: . =
Do not include Social Security | number or ITIN.

INACTIVE E- COMMERCE BUSINESS - “THE tie
CAUSED INSURMOUNTABLE FINANCIAL LOSSES
| AND. WAS DISSOLVED IN.2023 __

‘Name Qo accountant or bookkeeper.

DID NOT HAVE ACCOUNTANT
OR BOOKKEEPER

EIN; § 8 4.3.4 9 4 5 3

Dates business @ existed -

Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy

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Debtor 1 Chaim Levilev Case number (it known) 6:24-bk-03843-LVV

First Name Middle Name Last Name

Deseribe the. nature of the business "Employer Identification number

EOM COMPANY LLC ed . :Do.not include Social Security number or ITIN.

Business Name INACTIVE BUSINESS ENTITY THE LLG DID ‘NOT
CONDUCT ANY BUSINESS ACTIVITIESANDWAS | ew. 2 0 2 9 3 616 5

621 NW 53RD STREET DISSOLVED DUE TO NOT BEING IN OPERATION. ee

Number Street ~ Name: of accountant orbookkeeper = .- = = : ‘Dates business existed eye

240 DID NOT HAVE ACCOUNTANT

BOCARATON FL 33487 | OR BOOKKEEPER From 2022 To 2023

City State 21IP Code

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

Wi No

CJ Yes. Fill in the details below.

~ Date issued’ -

Name MM/DD/YYYY

Number Street

City State 2IP Code

ee -- =_

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the
answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 519, and 3574.

x / - x
Signatuse ot Debtor 1 Signature of Debtor 2

Date t¥ Date

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

LJ No
W Yes
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
W No
C) Yes. Name of person. . Attach the Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119).
Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 12

re PIC

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Re: Chaim Levilev Case Number: 6:24-bk-03843-LVV

Overflow - Statement of Financial Affairs

9:

Case Title LEVILEV JOSEPH, V LEVILEV CHAIM

Case Number §0-2024-CC-005154-XXXA-MB

Nature Of The Case CASES INVOLVING OTHER MATTERS NOT CLASSIFIED ELSEWHERE
Court Name ‘ PALM BEACH COUNTY 15TH JUDICIAL CIRCUIT COURT

Address 205 NORTH DIXIE HIGHWAY WEST PALM BEACH, FL 33401

Status Of The Case PENDING

27:

Business Name LEVILEV FITNESS LLC
Address 314-E BOCA RATON RD, BOCA RATON FL 33432
EIN: NONE

Describe The Nature INACTIVE BUSINESS ENTITY - THE LLC DID NOT CONDUCT ANY BUSINESS
of The Business ACTIVITIES AND WAS DISSOLVED DUE TO NOT BEING IN OPERATION.

Accountant/Bookkeeper | DID NOT HAVE ACCOUNTANT OR BOOKKEEPER

Dates Existed 03/22/2022 - 09/22/2023

Business Name TUBAV, LLC

Address , 200 WEST PROSPECT STREET, OAKLAND PARK, FL 33334
EIN: XX-XXXXXXX

Describe The Nature THIS BUSINESS ENTITY WAS FORMED BY NOSSEN LEVILEV (FORMER BUSINESS
of The Business PARTNER) AND LISTED BOTH OF US AS 50% OWNER AND MANAGERS. THE
PURPOSE WAS TO TRANSFER PROPERTY [ADDRESS: 200 W. PROSPECT RD,
OAKLAND PARK, FL 33309 / PARCEL ID 49-42-22-08-0192] OWNED BY HARMLESS
PRODUCTS, LLC, TO KEEP IT AS A SEPARATELY OWNED ASSET/INVESTMENT.

HOWEVER, THIS WAS NOT IMPLEMENTED AND WAS LEFT INACTIVE DUE TO THE
DISPUTE AND BUSINESS PARTNERSHIP LITIGATION. PER MY KNOWLEDGE, THE LLC
DID NOT CONDUCT ANY BUSINESS ACTIVITIES AND WAS DISSOLVED DUE TO NOT
BEING INACTIVE.

Accountant/Bookkeeper | DID NOT HAVE ACCOUNTANT OR BOOKKEEPER

Dates Existed 09/17/2020 - 09/23/2022

Overflow - Statement of Financial Affairs Page 1 of 1
Case 6:24-bk-03843-LVV Doc 13

ULM Mice etn Cere mem (e(-Ualt AR CoLv merce

Filed 08/14/24

Debtor 1 Chaim Levilev

First Name Middle Name Last Name
Debtor 2 .
(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Middle District of Florida

6:24-bk-03843-LVV

Case number
(If known)

Official Form 108

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CJ Check if this is an

amended filing

Statement of Intention for Individuals Filing Under Chapter 7 ia

if you are an individual filing under chapter 7, you must fill out this form if:

m@ creditors have claims secured by your property, or

™ you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.

Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,

write your name and case number (if known).

List Your Creditors Who Have Secured Claims

/ 1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the

t

i

information below.

; _ , Identify the creditor and the property that is collateral: ”
i . Lee : “

Creditor’s

AMERICAN CREDIT ACCEPTANCE

name:

_ -What:do you intend to do wi

property CHEVROLET

securing debt:

io,
Description of AUTOMOBILE SUBURBAN

secures a debt?

LJ Surrender the property.
(J Retain the property and redeem it.

A Retain the property and enter into a
Reaffirmation Agreement.

CJ Retain the property and [explain]:

ith the property that

Did you claim the property i

as exempt on Schedule C? |

UC] No
wf Yes

i
i
4

i
‘
i
i
i
:
:

: — Creditor's (J Surrender the property. UI No
{ name: i
: ~~ CJ Retain the property and redeem it. OQ Yes
cropeny of UL Retain the property and enter into a
i securing debt: Reaffirmation Agreement.
i (] Retain the property and [explain]: |
t 4
\
' Creditor’s Q) Surrender the property. LU No :
: name: :
: = LJ Retain the property and redeem it. QO Yes
money of ) Retain the property and enter into a
securing debt: Reaffirmation Agreement. .
i (CJ Retain the property and [explain]:
vredtor s (Q Surrender the property. QI No
Soornenemntenenmmnmecnrercart LJ Retain the property and redeem it. OD Yes

Description of

i property
: securing debt:

LJ Retain the property and enter into a
Reaffirmation Agreement.

(J Retain the property and [explain]:

Official Form 108

Statement of Intention for Individuals Filing Under Chapter 7

page 1
Case 6:24-bk-03843-LVV Doc13 Filed 08/14/24 Page 55 of 61 ~

‘(ed

Debtor 1 Chaim Levilev Case number (if known) 6:24-bk-03843-LVV

First Name Middle Name Last Name

Ea List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet

ended. You may « assume an unexpired Personal property lease if the trustee does not assume eit 11 U. S. C.§ 365(P)2).
i ‘ Deseribe your: unexpired personal property ieases. : : os = Co oR : Shed Lie wa 8 : Will the lease be assumed?
} Lessor’s name: QU) No
women cevenee eee noone . sececunene mena CO ves
Description of leased '
property:
. 4
Lessor’s name: OI No i
~~ _— ™ — ~ OYes |
Description of leased ;
property: :
Lessor’s name: UO No i
Description of leased QO) Yes
property: ;
Lessor’s name: No
ecco uw LU] Yes
Description of leased
property: i
Lessor's name: QI) No
sean are ata tts Aenea myers beatin sc eye tat elton Rttamatlaeem ein gt antateemeeet teed mt amet so ee mee, a. = oe QQ Yes
Description of leased
: property: i
Lessors name: CI No
~ sremeearenemne nap Nr eae ae = (J Yes
Description of leased . i
property: i
; \
| :
‘  Lessor’s name: UL) No
b
: er aan sen nt incendie eR ar ante PB ENA OE UO stn ~ 2 waren eon: hes Q Yes

i Description of leased
: property:

Under penalty Of. perjury, I declare that | have indicated my intention about any property of my estate that secures a debt and any
persona! Property thatA$’ subject to an unexpired lease.

So
x & x
ignature of Bettor 1 Signature of Debtor 2
vate ¥/6 24 Date
MMI TDD 7 YYYY MM/ DD/ YYYY

Official Form 108 Statement of Intention for Individuals ans Under Chapter 7 page 2

Bete

Case 6:24-bk-03843-LVV Doc13 Filed 08/14/24 Page 56 of 61 7a

SUR TEM )EMU CEE Li ler Em CoMLeL ATH aa Lol Mert N kOdaT-tot Rola oroy Mela NaF Me (LeTenKro Mee RCO Tio MTT]

. el ati 7e- eM SIU] by 8h
Debtor 4 Chaim Levilev
First Name Middle Name Last Name ua 1.Th . ti fab
Debtor2 . There is no presumption of abuse.
(Spouse, if filing) First Name Middle Name Last Name : Q) 2. The calculation to determine if a presumption of
, . abuse applies will be made under Chapter 7
United States Bankruptcy Court for the: Middle District of Florida Means Test Calculation (Official Form 122A-2).
Case number _6:24-bk-03843-LVV : Q) 3. The Means Test does not apply now because of
(if known) qualified military service but it could apply later.

] Check if this is an amended filing

Official Form 122A—1

Chapter 7 Statement of Your Current Monthly Income

12/19

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). if you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of

Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

aa Calcutate Your Current Monthly Income

1. What is your marital and filing status? Check one only.
C) Not married. Fill out Column A, lines 2-11.
QO) Married and your spouse is filing with you. Fill out both Columns A and B, Jinés 2-11.

4 Married and your spouse is NOT filing with you. You and your spouse are:

3. Alimony and maintenance payments. Do not include payments from a spouse if

. Column A’
“Debtor 1
2. Your gross wages, salary, tips, bonuses, overtime, and commissions
(before all payroll deductions). $____0.00

a Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

Q Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
spouse are living apart for reasons that do not include evading the Means Test requirements. W1US. C. § 707(b)(7)(B).

Lo Filli in the average monthly i income that you received from all sources,. derived during’ the 6: ‘full months, before you file this” /
sing! bankruptcy: case. 11°U.S.C.'§: 401(10A). For.example, if you are filing-on: September: 45, the: 6-month period ‘would be March 1 through
. August’31. Ifthe amount of your monthly i income varied:during the 6 months, add the income for all 6 menths arid divide the total by'6.

- Fillin the result: Do not include any income amount more than once. For example, if ‘both spouses own the: same rental property, put the
income from that’ property i in. one column only. If you ‘have nothing to: report ; for any line, write $0 in the Space. °

“Column B

Debtor 2 or -

-non-filing spouse

$___0.00

Column B is filled in.

4. All amounts from any source which are regularly paid for household expenses
of you or your dependents, including child support. Include regular contributions
from an unmarried partner, members of your household, your dependents, parents,
and roommates. Include regular contributions from a spouse only if Column B is not

filled in. Do not include payments you listed on line 3. oo. §

5. Net income from operating a business, profession,
or farm
Gross receipts (before all deductions)

Debtor 1. ‘Debtor 2
“g 3,935665° ¢° 0.00

$ 0.00

Ordinary and necessary operating expenses —$ 1,50000~-$ 0.00

Net monthly income from a business, profession, orfarm 249565 ¢ 0.00. roPys, $ 2,435.66
6. Net income from rental and other real property - Debtor 1 . “Debtor 2

Gross receipts (before all deductions) $_U.UW $__0.00

Ordinary and necessary operating expenses —$_0.00-$ 0.00

Net monthly income from rental or other real property 30.00 g 0.00 0.00 roPvy, $0.00
7. Interest, dividends, and royalties $

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income

page 1

~)

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Debtor 1 Chaim Levilev Case number trinown_9:24-bk-03843-LVV
First Name Middle Name Last Name
“Column A -. 85 Column B

“Debtor1.”.... Debtor 2 or
Bot -"s non-filirig spouse

8. Unemployment compensation $ 0.00 $ 0.00

Do not enter the amount if you contend that the amount received was a benefit
under the Social Security Act. Instead, list it here: ooo cesses

For you $

For your spouse $

9. Pension or retirement income. Do not include any amount received that was a
benefit under the Social Security Act. Also, except as stated in the next sentence, do
not include any compensation, pension, pay, annuity, or allowance paid by the
United States Government in connection with a disability, combat-related injury or
disability, or death of a member of the uniformed services. If you received any retired
pay paid under chapter 61 of title 10, then include that pay only to the extent that it
does not exceed the amount of retired pay to which you would otherwise be entitled if
tetired under any provision of title 10 other than chapter 61 of that title. § 0.00 $ 0.00

10. Income from all other sources not listed above. Specify the source and amount.

Do not include any benefits received under the Social Security Act; payments received
as a victim of a war crime, a crime against humanity, or international or domestic
terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
States Government in connection with a disability, combat-related injury or disability, or
death of a member of the uniformed services. If necessary, list other sources on a
separate page and put the total below.

0.00 0.00

me, ~

Total amounts from separate pages, if any. +3 +3
11. Calculate your total current monthly income. Add lines 2 through 10 for each =
column. Then add the total for Column A to the total for Column B. $ 3,285.66 + $ 0.00 $ 3,285.66

Total current
monthly income

By Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

12a. Copy your total current monthly income from line 11. Copy line 11 here> $ 3,285.66

Multiply by 12 (the number of months in a year). x 12
12b. The result is your annual income for this part of the form. 12b. $_39,427.92

13. Calculate the median family income that applies to you. Follow these steps:

Fill in the state in which you live. | FLORIDA
Fill in the number of people in your household. 5
Fill in the median family income for your state and size of household. 13. $ 113,969.0

To find a list of applicable median income amounts, go online using the link specified in the separate
instructions for this form. This list may also be available at the bankruptcy clerk's office.

14. How do the lines compare?

t4a. Wine 12b is tess than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
Go to Part 3. Do NOT fill out or file Official Form 122A-2

14b. J Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
Go to Part 3 and fill out Form 122A-2.

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 2

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Debtor 1 Chaim Levilev Case number (irknown_9:24-bk-03843-LVV

First Name Middle Name Last Name

Sign Below

By signing her:

x

declare undg¢f penalty of perjury that the information on this statement and in any attachments is true and correct.

glopatcre of Debto% Signature of Debtor 2

Date fy Mb L4 Date
MMi DD /YYYY MM/ DD /YYYY

If you checked line 14a, do NOT fill out or file Form 122A-2.
If you checked line 14b, fill out Form 122A~2 and file it with this form.

Ene

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly income page 3

sf

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3

IN THE UNITED STATES BANKRUPTCY COURT FOR THE
MIDDLE DISTRICT OF FLORIDA

IN RE:
Case Number: 6:24-bk-03843-LVV
CHAIM LEVILEV Chapter 7
Debitor

VERIFICATION OF MATRIX

The above named debtor hereby verifies that the attached list of creditors is true and
correct to the best of his/her/their knowledge.

Date: SL, By LaZa—

Cp ébtors Signature

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Re: Chaim Levilev Case Number: 6:24-bk-03843-LVV

Overflow - List of Creditor Matrix

The Initial Short Filling of [List of Creditor Matrix] had missing/incorrect information.
Amended Filing Details and Corrections

e AMERICAN CREDIT ACCEPTANCE
Corrected Address

e PETER J SNYDER PA
Corrected Name & Address

e SID ROBERTS
Corrected Name & Address

e VALUATION LITIGATION LLC
Added to Creditors List

e HALIFAX HEALTH CARE SYSTEMS INC
Added to Creditors List

e U.S. ANESTHESIA PARTNERS
Added to Creditors List

e ALLIANCE ONE DEBT COLLECTOR
Added to Creditors List

Overflow - List of Creditor Matrix Page 1 of 1
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Chaim Levilev
2 Fernmeadow Lane
Ormond Beach, FL 32174

Affirm, Inc.

Attn: Bankruptcy

650 California St; Fl 12
San Francisco, CA 94108

American Credit

_ Acceptance

_. Attn: Bankruptcy

961 E Main Street
Spartanburg, SC 29302

Amex
Correspondence
Bankruptcy

Po Box 981540

El Paso, TX 79998 ©

Amex
PO Box 981537
El Paso, TX 79998

Andrews Plaza, LLC

c/o Marko Cerenko, Esquire
201 S Biscayne Blvd

Suite 2700

Miami, FL 33131

Bmw Financial Services
Attn:Bankruptcy

Po Box 3608

Dublin, OH 43016

Capital One

Attn: Bankruptcy

Po Box 30285

Salt Lake City, UT 84130

Chase Card Services.
Attn: Bankruptcy
P.O..15298
Wilmington, DE 19850

Credit One Bank
Attn: Bankruptcy
Department ”

6801 Cimarron Rd
Las Vegas, NV 89113

Discover Financial
Attn: Bankruptcy

Po Box 3025

New Albany, OH 43054

Yossi & Surie Levilev
4896 NW 67th Ave;

‘Lauderhill, FL 33319

Mission Lane LLC

Attn: Bankruptcy
P.O. Box 105286

' Atlanta, GA 30348

Upstart Smb/crb
P.o. Box 1503
San Carlos, CA 94070

Peter J Snyder PA

301 Crawford Blvd S 100
Boca Raton, Florida
33432-3762

Sid Roberts
280 Prrauli Drive
Ormond Beach, FL 32174

Bloodworth Law, PLLC.
801 N Magnolia Ave #216
Orlando, FL 32803

Harmless Products LLC
2890 W Broward Bivd
#B425

Fort Lauderdale, FL 33312

Nossen Levilev

325 Farmington Drive

Plantation, FL 33317

Smoke-Free World
Foundation .

1722 Sheridan St. #358
Hollywood, FL 33020

GCB Health LLC

621 NW 53rd Street
Suite 240

Boca Raton, FL 33487

Internal Revenue Service
IRS

PO Box 802501

Cincinnati, OH 45280-2501

Valuation Litigation LLC
924 N Magnolia Ave #118
ORLANDO FL, 32803

HALIFAX HEALTH CARE
SYSTEMS ING

PO BOX 14099
BELFAST, ME 04915

U.S. ANESTHESIA
PARTNERS:

PO BOX 8757

CORAL SPRINGS, FL 33075

ALLIANCE ONE DEBT
COLLECTOR

3043 WALTON ROAD
PLYMOUTH MEETING, PA
19462
